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                                UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------- ---------x
                                                                  :
AUBREY DRAKE GRAHAM,
                                                                  :
                                   Plaintiff,
                                                                  : Civil Action No. 1:25-cv-399-JAV
                             v.
                                                                  :
                                                                    Jury Trial Demanded
UMG RECORDINGS, INC.,
                                                                  :
                                   Defendant.
                                                                  :

                                                                  :
-------------------------------------------------------- ---------x

                                       AMENDED COMPLAINT
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       Plaintiff Aubrey Drake Graham (“Drake” or “Plaintiff”), through his attorneys, brings this

Complaint against Defendant UMG Recordings, Inc. (“Defendant” or “UMG”).1

                                        INTRODUCTION

“A single lie can destroy a reputation of integrity and . . . while it takes years to build a
reputation, it can be ruined in five minutes.”
                       – Sir Lucian Grainge, Chief Executive Officer of UMG, March 25, 2024

       1.      In the middle of the night on May 7, 2024, an armed group of assailants drove up

to the Toronto house in which Drake and his family resided. Drake was inside. The car stopped

in front of the residence, someone yelled “Fuck Drake,” and at least one gunman began to open

fire. One bullet went through the security gate and hit Drake’s front door; another bullet struck

and wounded a security guard, who was also one of Drake’s friends. While the car drove away,

Drake and others in the house summoned help for the security guard and did everything possible

to keep him alive. During the nearly thirty minutes it took for the ambulance to arrive, Drake and

others labored to keep the man alive by applying pressure to the gunshot wound with towels. Blood

was everywhere.

       2.      After the security guard arrived at the hospital, surgeons worked quickly to remove

the bullet, stop the bleeding, and save his life. Though it took days for his condition to stabilize,

thankfully, the security guard survived.

       3.      The very next day, May 8, 2024, a different intruder used his bare hands to dig a

hole under the security fence surrounding Drake’s Toronto house. He managed to dig deep enough

to squeeze through and enter Drake’s property. Fortunately, Drake’s home security guards caught




1
 Throughout, references to UMG shall include any UMG employee, affiliate, agent, and anyone
working on UMG’s behalf.


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him before he was able to cause any physical harm, although the trespasser managed to yell racist

slurs and threats against Drake before being escorted off the property.

       4.      On May 9, 2024, the very next day, another break-in attempt happened.

       5.      In the two decades leading up to May of 2024, although Drake was constantly in

the public eye, nothing remotely like these events had ever happened to him or his family. But

these events were not coincidental. They immediately followed, and were proximately caused by,

UMG’s actions leading up to and on May 4, 2024.

       6.      UMG is the “world’s largest music company,”2 and also the music company that

has represented Drake for more than a decade. Yet, on May 4, 2024, UMG approved, published,

and launched a campaign to create a viral hit out of a rap track that falsely accuses Drake of being

a pedophile and calls for violent retribution against him. Even though UMG enriched itself and

its shareholders by exploiting Drake’s music for years, and knew that the salacious allegations

against Drake were false, UMG chose corporate greed over the safety and well-being of its artists.

In controversy, UMG saw an opportunity, seized it, and continued to fan the flames even after

learning of the incitement to violence on May 7 and 8, along with the unrelenting vitriol towards

Drake that has followed.

       7.      The song in question is “Not Like Us” (the “Recording”) written and performed by

Kendrick Lamar Duckworth (professionally known as Kendrick Lamar).3 The Recording was

intended to convey the specific, unmistakable, and false factual allegation that Drake is a criminal



2
 Amended Complaint ¶ 16, UMG Recordings, Inc. v. OpenDeal Inc., No. 21-cv-09358 (S.D.N.Y.
Aug. 26, 2022), ECF No. 64.
3
  Not Like Us (Interscope Records 2024) [hereinafter “Recording”]. The full lyrics of the
Recording are attached hereto as Exhibit A. The Recording was first made available for streaming
on YouTube. See Kendrick Lamar (@kendricklamar), Not Like Us, YouTube (May 4, 2024),
https://www.youtube.com/watch?v=T6eK-2OQtew [https://perma.cc/6BL5-RGJY].


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pedophile, and to suggest vigilante justice as a response. The Recording is defamatory because its

lyrics, its album image (the “Image”), and its music video (the “Video”) all advance the false and

malicious narrative that Drake is a pedophile. The lyrics repeatedly accuse Drake of engaging in

criminal acts, including by calling him a “certified pedophile[]” and a “predator” who needs to be

“placed on neighborhood watch.”4 The Image was designed to reinforce, and in fact reinforces,

that accusation by depicting Drake’s actual Toronto house covered in the icons that are known to

be used by law enforcement (as well as public safety applications like Citizen) to identify child

sex offenders’ residences online. The Video (created weeks after the song became a viral hit) was

designed to reinforce the same false factual narrative by, for example, showing images associated

with sex trafficking and juxtaposing the game of hopscotch with lyrics accusing Drake of “Tryna

strike a chord and it’s probably A-Minor.”5

         8.      This lawsuit is not about the artist who created “Not Like Us.” It is, instead, entirely

about UMG, the music company that decided to publish, promote, exploit, and monetize

allegations that it understood were not only false, but dangerous. As UMG knows and has known

at all relevant times, the Recording, Image, and Video’s allegations are unequivocally false. Drake

is not a pedophile. Drake has never engaged in any acts that would require he be “placed on

neighborhood watch.” Drake has never engaged in sexual relations with a minor. Drake has never

been charged with, or convicted of, any criminal acts whatsoever.

         9.      Notwithstanding its knowledge that the allegations are fabricated, starting in May

of 2024, UMG waged an unrelenting campaign to spread the Recording, Image, and Video



4
    Recording, supra note 3, at 00:57-01:00, 02:11-02:15.
5
       Not    Like    Us     at    01:43-01:50,   YouTube       (July   4,    2024),
https://www.youtube.com/watch?v=H58vbez_m4E [https://perma.cc/BZ9F-S9PH] [hereinafter
the “Video”].


                                                    3
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(together, the “Defamatory Material”) as widely as possible. UMG did so because it understood

that the Recording’s inflammatory and shocking allegations were a gold mine. Spreading the

Defamatory Material served multiple business purposes for UMG. First, the more people who

listened to, streamed, watched, and downloaded the Defamatory Material, the more money UMG

and its executives would make. Second, UMG’s Interscope Records (“Interscope”) owns Lamar’s

entire back catalog of recorded music. The leadership of Interscope had every incentive to prove

it could maximize Lamar’s sales after only recently persuading him to enter into his own direct

license for a limited recording commitment of new music. Third, (in contrast with Lamar’s first

direct deal), UMG’s contract with Drake was nearing fulfillment, and on information and belief,

UMG anticipated that extending Drake’s contract would be costly. By devaluing Drake’s music

and brand, UMG would gain leverage to force Drake to sign a new deal on terms more favorable

to UMG.

         10.     UMG’s campaign was successful. The Recording cloaks cleverly dangerous lyrics

behind a catchy beat and inviting hook. Capitalizing on those attributes, UMG used every tool at

its disposal to ensure that the world would hear that Drake “like[s] ‘em young.”6 Unlike any other

song ever released by Kendrick Lamar, this song has been played many billions of times, and its

false central message has calcified into accepted fact via social and legacy media channels

broadcast in dozens of languages to (at minimum) hundreds of millions of people spanning the

globe. It is not just fans of rap music who now believe that Drake is a “certified pedophile[],”

because it is not just fans of rap music who have been repeatedly exposed to the song’s lyrics.

Instead, the Recording has become ubiquitous, in significant part because of UMG’s deliberate

efforts designed to accomplish just that. UMG used its promotional resources and exclusive


6
    Recording, supra note 3, at 00:40-00:42.


                                                4
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licensing rights to place the Recording on numerous nationally televised events, including but not

limited to awards shows, national political events, and more.

        11.     But billions of plays and ubiquity were not enough for UMG. Long after UMG

knew about the harm that “Not Like Us” had caused to Drake, and with full understanding that

countless listeners have interpreted the song’s lyrics and imagery to convey assertions of fact,

UMG made significant financial investments and leveraged its professional connections, via

sophisticated and highly-organized publicity campaigns, to arrange for the Recording to be

performed at one of the most significant (and viewed) cultural events of the year—the Super Bowl.

The Recording was performed during the 2025 Super Bowl and broadcast to the largest audience

for a Super Bowl halftime show ever, over 133 million people, including millions of children, and

millions more who had never before heard the song or any of the songs that preceded it. It was

the first, and will hopefully be the last, Super Bowl halftime show orchestrated to assassinate the

character of another artist.

        12.     UMG is legally responsible for the release, publication,7 and promotion of the

Defamatory Material, including the foreseeable consequences of the same. UMG’s business is to

“possess the exclusive rights” to reproduce, to distribute, and to license music, “including over the

[i]nternet.”8 Moreover, UMG retains the right to refuse to publish works based on content to which

it objects, including material that UMG deems to be defamatory. In other words, it is only with

UMG’s explicit approval that the Defamatory Material could have been released in the first


7
  Throughout, this filing uses the terms “publish” and “publication” as understood within the
defamation context. See PUBLISH, Black’s Law Dictionary (12th ed. 2024) (“1. To distribute
copies (of a work) to the public. 2. To communicate (defamatory words) to someone other than
the person defamed”). In the context of the music industry, these terms have a different meaning,
which is not intended here.
8
 Complaint ¶ 15, UMG Recordings, Inc. v. Vital Pharms., Inc., No. 21-cv-60914 (S.D. Fla. Apr.
28, 2021).


                                                 5
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instance and later streamed, shared, performed publicly, and exploited by content creators on

TikTok and Instagram.

       13.     UMG’s campaign went well beyond the traditional music company playbook—

indeed, UMG has unleashed every weapon in its arsenal, including, on information and belief,

certain practices that are unlawful. In a memorandum to staff reflecting on highlights of 2021, Sir

Lucian Grainge remarked that it was “harder than ever for artists to break through the noise” as,

for example, “sixty thousand songs are added to Spotify every day.” UMG made sure that “Not

Like Us” broke through that noise. For one, UMG took the unprecedented step—contrary to its

internal practices—to remove the Recording’s copyright restrictions on YouTube and Twitch,

thereby “whitelisting” the Recording to ensure content creators would republish it broadly. On

information and belief, UMG and its agents further put a thumb on the scale by covertly offering

financial incentives to third parties to deceptively stream the Recording on streaming platforms,

to play the Recording on the radio, and to otherwise promote and endorse the Defamatory Material,

all without ever publicly disclosing the payments. These actions not only spread and further

engrained the defamatory statements in the minds of the public, but deceived consumers and

harmed Drake economically.

       14.     Predictably, millions of people who listened to the Recording, or saw the Image

and Video, believed the Defamatory Material to be true. UMG had previously published Lamar’s

song “Euphoria,” which was also widely understood to be targeted at Drake, and which stated,

“don’t tell no lie about me and I won’t tell truths ‘bout you.” As voluminous public commentary

confirms, the average listener or viewer has understood the Defamatory Material to reflect factual

assertions about Drake, rather than art or hyperbole. Moreover, the lyrics of “Not Like Us” leave

the unmistakable impression that they are based on additional facts not disclosed to the listener,




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but that might be revealed at some future point in time. In the words of one commentator, the

Recording’s (false) lyrics have made it such that “everybody believe[s]” that Drake loves

“touching children.”

         15.   UMG’s greed yielded real world consequences. As described above, it was just

three days after UMG originally published the Recording and Image that Drake was targeted at his

Toronto house by armed intruders in the 2024 equivalent of “Pizzagate.” The online response was

similarly violent and hateful. An avalanche of online hate speech has branded Drake as a sex

offender and pedophile, among other epithets. Public commentary has repeated the (false) claims

that Drake is a “pedo” and “sexual abuser on the level of Weinstein, Diddy, and Epstein” who

“traffic[]s children” in shipping containers and harbors convicted “sex offenders” in his Toronto

home. In direct response to UMG’s publications, social media users called for the Federal Bureau

of Investigation (FBI) to “to come at this point” and for Drake to be “locked up” and “behind

bars.”




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       16.     The mob-like response to the Recording continues to unfold on- and off-line. At

one point in time, flyers were plastered all over Toronto with a photo of Drake and a Canadian

YouTuber who was sentenced to three years in prison for sexual assault with the words “Canadian

sex predators gotta stick together.”




       17.     The public response re-intensified following the 2025 Grammys and Super Bowl,

both of which featured the Defamatory Material. Each of these prestigious and high-exposure

events introduced new listeners to the Recording, causing even more people to be duped into

believing that Drake was a pedophile. Not only did streams of the Recording increase significantly

following these two mega-cultural events, but threats against Drake and his family did as well.

       18.     With the palpable physical threat to Drake’s safety and the bombardment of online

harassment, Drake fears for the safety and security of himself, his family, and his friends. After

the attacks on his home, Drake pulled his son out of the elementary school he attended in Toronto

due to safety concerns, and once school ended for the summer, Drake arranged for his son and




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mother to leave Toronto entirely. Day to day, Drake continues to take steps to address persistent

threats to his security.

            19.   The violence and vitriol directed at Drake was foreseeable. The Recording falsely

accuses Drake of one of the most vile behaviors imaginable, and explicitly calls for retaliatory

violence and retribution against him. The false “pedophile” accusation is a devastatingly effective

method of assassinating someone’s character online. When spread virally, the accusation can

destroy an individual’s reputation and brand in a matter of days. As one expert on conspiracy

theories has explained: “There’s always been a certain amount of salaciousness in these conspiracy

theories . . . [a]nd if it involves children, people immediately just lose their mind—even if these

children don’t exist.”9 If “you just put out the suggestion there, it grabs ahold in a way that is

difficult to dislodge.”10 That is exactly what the Recording accomplished.

            20.   UMG understands just how dangerous these kinds of false allegations are—indeed,

when it comes to allegations against UMG and its executives, they have not hesitated to take legal

action against their accusers. Just last year, UMG and Sir Grainge were accused, in their words,

without “the slightest factual basis,” of aiding and abetting Sean “P. Diddy” Combs in criminal

sexual acts.11 Moving to dismiss the complaint against them, UMG and Sir Grainge argued that

the accusations were “offensively false allegations of criminal behavior” that would be



9
  Catherine Kim, Pizzagate, QAnon and the ‘Epstein List’: Why the Far Right Is Obsessed with
Sex             Trafficking,         Politico            (Jan.          9,            2024),
https://www.politico.com/news/magazine/2024/01/09/why-maga-is-obsessed-with-jeffrey-
epstein-00134394
[https://web.archive.org/web/20241209003125/https://www.politico.com/news/magazine/2024/0
1/09/why-maga-is-obsessed-with-jeffrey-epstein-00134394].
10
     Id.
11
  Declaration of Donald S. Zakarin in Support of Motion to Dismiss the First Amended Complaint
¶ 3, Jones v. Combs, No. 1:24-cv-01457 (S.D.N.Y. Mar. 27, 2024), ECF No. 26.


                                                  9
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“libelous per se” if not contained within a legal filing.12 Sir Grainge called the allegations against

him “knowingly and maliciously false and defamatory.”13 Sir Grainge also explained that “a

single lie can destroy a reputation of integrity and . . . while it takes years to build a reputation,

it can be ruined in five minutes.”14 Thus, recognizing that false allegations against him might

interfere with his efforts “to lead an honorable personal and professional life,”15 Sir Grainge

promised to “pursue those who have made these outrageous allegations against [him].”16

          21.     In stark contrast, when Drake confronted UMG about its role in promoting

allegations of sexual misconduct lacking “the slightest factual basis” against him, UMG refused

to do anything to help. Instead, UMG continued to republish and promote the Defamatory

Material, even after Drake had unequivocally denied the allegations in public and had

communicated that in private to UMG. Drake informed UMG of the tangible harm that the

publication and promotion of the Recording had caused him—including violence, threats,

reputational and financial damage, and more. Yet UMG still chose money over the safety and

well-being of its artists, notwithstanding its public commitment to “behaving honorably and with

honesty,” and “setting the right tone—in all that we do.”17 And UMG has tripled and quadrupled




12
     Id. ¶¶ 18, 31, 66.
13
  Declaration of Sir Lucian Grainge in Support of Motion to Dismiss ¶ 24, Jones v. Combs, No.
1:24-cv-01457 (S.D.N.Y. Mar. 27, 2024), ECF No. 26-1.
14
     Id. (emphasis added).
15
     Id. ¶ 23.
16
     Id. ¶ 15.
17
    Universal Music Group, Our Code of Conduct: Setting the Right Tone, at 2 (2021),
https://dn8hzp56erqjx.cloudfront.net/pdf/pdf/2021-UMG-Code-of-Conduct.pdf
[https://web.archive.org/web/20231113085616/https://dn8hzp56erqjx.cloudfront.net/pdf/pdf/202
1-UMG-Code-of-Conduct.pdf].


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down on its defamation-for-profit strategy even after Drake filed this lawsuit, which detailed the

harm to him and his family caused by UMG’s publication and promotional activities.

            22.      Many months prior to filing this litigation, Drake attempted to address these claims

privately with UMG. Drake believed, per Sir Grainge, that UMG’s leadership should be held

“accountable for the decisions we make and how we conduct ourselves.”18 And UMG purports to

care about threatening and abusive behavior—indeed, UMG’s Code of Conduct notes that

“[h]arassment can take different forms, such as . . . speech that is threatening or abusive,” and

declares that “violence, threats and physical intimidation are not tolerated at Universal Music”

because “[w]e all share the responsibility to make health and safety a constant priority.”19 Yet, in

response to Drake’s concerns, UMG responded that Drake would face humiliation if he brought

legal action—presuming that the public would be unable to understand UMG’s role in exploiting

and profiting from this dispute. UMG’s posture, as the “world’s largest music company,” was that

it is untouchable.

            23.      UMG’s response to Drake was especially perverse given that it is perfectly willing

to sue to protect its own interests when it believes that doing so will protect its “property.”20 UMG

is “engaged in the business of acquiring, administering, licensing, exploiting and otherwise




18
     Id.
19
     Id. at 10-11.
20
  By way of example: in 2022, UMG sued OpenDeal, Inc. for trademark infringement, among
other claims, UMG Recordings, Inc. v. OpenDeal Inc., No. 1:21-cv-09358 (S.D.N.Y. Nov. 12,
2021); in 2021, UMG sued Bang Energy for the unlicensed used of its songs in TikTok videos,
UMG Recordings, Inc. v. Vital Pharms., Inc, No. 21-cv-60914 (S.D. Fla. Apr. 28, 2021); in 2017,
UMG sued Grande Communications Networks for infringement and copyright violations, UMG
Recordings, Inc. v. Grande Communications Networks LLC, No. 1:17-cv-00365 (W.D. Tex. Apr.
21, 2017); in 2011, UMG sued Escape Media Group, Inc. for copyright infringement, UMG
Recording, Inc. v. Escape Media Group, Inc., No. 1:11-cv-08407 (S.D.N.Y. Nov. 18, 2011).


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monetizing”21 the music of its artists, including Drake, and it does not hesitate to file lawsuits when

doing so suits its financial interests. This lawsuit is both necessary and appropriate because UMG

has repeatedly defamed Drake while “exploiting” and “monetizing” his work.

       24.     With his own record label having waged a campaign against him, and refusing to

address this as a business matter, Drake has been left with no choice but to seek legal redress

against UMG. UMG has attempted to spin this Complaint as a rap beef gone legal, but this lawsuit

is not about a war of words between artists. This lawsuit involves no claims against Kendrick

Lamar or any other artist; instead, it is about UMG—the publisher and exclusive rights holder of

Lamar’s music, as well as Drake’s—and its malicious decision to publish and promote, through

both overt and covert means, false allegations about Drake that UMG knew were false, explosive,

inflammatory, and certain to result in both vitriol and substantial harm to Drake’s reputation.

       25.     Notwithstanding a relationship spanning more than a decade, UMG intentionally

sought to turn Drake into a pariah, a target for harassment, or worse. UMG did so not because it

believes any of these false claims to be true, but instead because it would profit from damaging

Drake’s reputation. Drake thus brings this action to hold UMG responsible for the actual and

foreseeable harm he has suffered, and will continue to suffer, because of UMG’s choice to elevate

profits over the well-being of its artists and the music-consuming public.

                                             PARTIES

       26.     Plaintiff Aubrey Drake Graham, a/k/a Drake, is a rapper, singer, songwriter,

actor, entrepreneur, and philanthropist. Drake is a citizen of Texas.




21
  Complaint ¶ 1, UMG Recordings, Inc. v. Vital Pharms., Inc., No. 1:21-cv-60914 (S.D. Fla. Apr.
28, 2021).


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         27.    Defendant UMG Recordings, Inc. is a wholly owned subsidiary of Universal

Music Group N.V. (together with UMG, “Universal Music”), a public company formed under the

laws of the Netherlands. UMG is a Delaware corporation with its headquarters in California, and

thus it is a citizen of Delaware and California. UMG is registered to do business in New York and

maintains an office in New York City at 1755 Broadway, New York, New York 10019. Indeed,

several of UMG’s record label divisions are headquartered in New York.22 Universal Music touts

itself as “the world leader in music-based entertainment” which “produce[s], distribute[s] and

promote[s] the most critically acclaimed and commercially successful music to delight and

entertain fans around the world.”23 UMG has recording contracts with some of the world’s biggest

music stars, including Taylor Swift, Ariana Grande, Adele, and, relevant here, Drake and Kendrick

Lamar. Drake has been signed under exclusive recording contracts controlled by UMG since 2009,

which provide UMG with the exclusive right to license, sell, and promote his recordings.24 UMG

is engaged in the business of exploiting “recorded music, music publishing, merchandising, and

audiovisual content,”25 including through Republic Records (“Republic”), Capitol Records

(“Capitol”), and Interscope, all of which are wholly owned divisions of UMG. As of 2024,

Kendrick Lamar releases music from his independent label through an exclusive direct licensing

agreement with UMG through Interscope. Universal Music also operates Universal Music


22
   Complaint ¶ 7, UMG Recording, Inc. v. Escape Media Group, Inc., No. 1:11-cv-08407
(S.D.N.Y. Nov. 18, 2011).
23
   Overview, Universal Music Group, https://www.universalmusic.com/company/#organization
[https://perma.cc/D2JD-YJPD].
24
   See Mariel Concepcion, Drake Signs To Young Money, Distribution By Universal Republic,
Billboard (June 20, 2009), https://www.billboard.com/music/music-news/drake-signs-to-young-
money-distribution-by-universal-republic-268244/
[https://web.archive.org/web/20250114212221/https:/www.billboard.com/music/music-
news/drake-signs-to-young-money-distribution-by-universal-republic-268244/].
25
     Universal Music Group, Overview, supra note 23.


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Publishing Group (“UMPG”) as its music publishing and distribution arm. Both Drake and

Kendrick Lamar’s music publishing rights are exclusively controlled by UMPG under songwriter

agreements.

                                 JURISDICTION AND VENUE

       28.     This Court has jurisdiction over this action and Defendant pursuant to 28 U.S.C.

§ 1332(a)(1), as the matter in controversy exceeds $75,000 exclusive of interests and costs and is

between citizens of different states.

       29.     This Court may exercise personal jurisdiction over Defendant pursuant to § 302 of

the New York Civil Practice Law and Rules because UMG transacts business within the state and

owns, uses or possesses real property within the state. Further, this Court may exercise personal

jurisdiction over Defendant pursuant to § 301 of the New York Civil Practice Law and Rules

because UMG systematically and continuously conducts and solicits business within New York

and has availed itself of the privileges of conducting business in the State of New York.

       30.     Venue is proper pursuant to 28 U.S.C. §§ 1391 (b) and (c) because a substantial

part of the events or omissions by UMG giving rise to the claims occurred in this District, and

because UMG is subject to personal jurisdiction in this District.

                                         BACKGROUND

       31.     Liability in this case is predicated on the Defamatory Material which UMG

published and/or caused the publication of beginning on May 4, 2024, and continuing through the

date of this filing. This background section provides facts and context about the parties and the

events leading up to the initial publications.




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               A.      Drake Is Internationally Recognized as a Multitalented Rap Superstar.

       32.     Drake’s career spans two decades. While Drake first rose to fame in the early 2000s

as the star of hit Canadian teen drama television series Degrassi: The Next Generation, the rapper

“Drake” is now known worldwide.

       33.     Drake is one of the world’s best-selling music artists of all time. Some of Drake’s

biggest hits include “Hotline Bling” and “One Dance.” Between 2010 and 2024, Drake released

eight studio albums, with more than 170 million albums sold including 244 million singles sold.

Drake has had 13 #1 hits on the Billboard Hot 100 chart (the “Billboard Hot 100”).

       34.     Drake’s success has been repeatedly celebrated by the music industry. Drake has

been nominated for 55 Grammy Awards, and has won five, including most recently in 2023. Drake

has also won 42 Billboard Music awards and in 2021, Drake accepted Billboard’s “Artist of the

Decade” award. Drake proudly accepted the award with his young son, father, and members of

his team by his side, dedicating the award to his son, friends, longtime collaborators, and peers.

       35.     Drake’s professional and entrepreneurial endeavors extend beyond music. In 2012,

Drake founded the Canadian-based record label OVO Sound, which has signed artists including

PartyNextDoor, Majid Jordan, Smiley, and Naomi Sharon.

       36.     Drake also uses the brand name October’s Very Own (“OVO”), represented by an

owl, for his clothing brand. Far more than just “label merch,” the clothing brand has collaborated

with Canada Goose, Canadian retailer Roots, Disney, the NCAA, the NFL, and Supreme. In

addition to lucrative online sales, OVO operates several brick-and-mortar stores in Canada, the

United States, and the United Kingdom.26



26
  Stores, October’s Very Own, https://us.octobersveryown.com/stores [https://perma.cc/2QPU-
LLYW].


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        37.     Drake founded a multidisciplinary media production company, DreamCrew, which

operates a management company, production house, and content studio. Through DreamCrew

Entertainment, Drake has executive-produced award-winning documentary films, feature films,

and hit television programs for FX, Hulu, Netflix, and HBO, including Top Boy, which has

received awards from the British Academy Television Awards, and Euphoria, for which Drake

received a Primetime Emmy Award nomination.

        38.     As a celebrity with global name recognition, Drake is regularly approached for

collaborations, partnerships, and endorsement deals.        In 2013, Drake became the global

ambassador for Toronto’s NBA team, the Raptors. Since then, Drake has inspired new alternate

team jerseys, narrated team advertisements, hosted a “Drake Night” each season for several years,

and pledged charitable contributions to refurbish community basketball courts and to support

Canada Basketball, the country’s national basketball federation. In 2019, the Raptors renamed

their practice facility the “OVO Athletic Centre.” Drake’s partnership with the Raptors is

significant to the team and the city, and President of the Toronto Raptors Masai Ujiri has said that

“the Raptors’ relationship with Drake has always ultimately been about celebrating this city and

the people who make it unique. . . . We have something very special happening in Toronto, and

Drake is a big part of that.”27

        39.     Drake’s philanthropic efforts have received almost as much attention and praise as

his music. Drake has a “history of making generous donations” and going on “charitable spree[s]”

in the communities where he shoots music videos and appears on tour.28 Through his charitable


27
   Drake and the Raptors Partnership Continues To Expand, NBA.com (Jan. 19, 2018),
https://www.nba.com/raptors/news/drake-raptors-partnership-continues-to-expand
[https://perma.cc/Q2TH-CRFA].
28
  Marissa G. Muller, Drake Goes on $175,000 Charity Spree Paying For Groceries and College
Tuition    For       Total    Strangers,     W       Magazine      (Feb.     7,     2018),

                                                16
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giving, Drake has supported public schools and nonprofit educational programs, community

development organizations and homeless shelters, hurricane relief efforts, and various individuals

in need, including college students, grieving mothers, patients in need of surgery, and fans in dire

need of financial assistance. Drake also focuses on giving back to his community in Houston,

Texas, including by providing much-needed financial assistance in the wake of Hurricane Harvey.

         40.    As UMG knows and has understood at all relevant times, Drake has never been

indicted for, charged with, or convicted of committing any crimes whatsoever, much less sexual

crimes, or any crimes against minors.

                B.     UMG Is a Music Industry Giant.

         41.    In its own words, UMG is the “world leader in music entertainment.”29 UMG is

“engaged in the business of acquiring, administering, licensing, exploiting and otherwise

monetizing a catalog of copyrights containing musical compositions and sound recordings.”30

UMG “controls almost a third of the music people listen to in the developed world and a sizable

portion in the developing world.”31

         42.    In the music industry, control over a particular single, album, or other collection of

works is governed by various contracts, including traditional recording deals, and distribution,

publishing, and licensing deals. In a traditional recording deal, a record label typically retains


https://www.wmagazine.com/story/drake-charity-donations-womens-shelter-groceries-tuition
[https://perma.cc/P2FW-Y34L].
29
     Universal Music Group, Overview, supra note 23.
30
  Complaint ¶ 1, UMG Recordings, Inc. v. Vital Pharms., Inc., No. 1:21-cv-60914 (S.D. Fla. Apr.
28, 2021).
31
   Mike Kytka, Universal Music Group: A Royalty on Global Music Consumption, MoneyFlow
Research (Sept. 22, 2022) https://moneyflowinvesting.substack.com/p/universal-music-group-a-
royalty-on
[https://web.archive.org/web/20250112195037/https://moneyflowinvesting.substack.com/p/unive
rsal-music-group-a-royalty-on].


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exclusive rights to an artist and the artist’s recordings, and the right to re-recording the

compositions embodied therein for a specified period of time. The label pays an advance for the

artist’s recordings and royalties and finances the provision of services to the artist in areas such as

production, promotions, marketing, and distribution. A distribution deal differs in that it generally

allows an artist to retain ownership of his recordings and grants the record label the exclusive right

to sell, license, and distribute the recordings in certain formats (e.g., digital audio and physical

phonograph records) for a specified period of time. With a music publishing administration deal,

the artist as a songwriter generally retains ownership of his musical compositions and pays a

percentage of his music publishing revenues to a publisher to administer, promote, exploit, license,

and protect use of his songs.        A 360 deal, also known as a master contract, is the most

comprehensive. It encompasses the traditional rights granted in a recording deal, but also provides

the record label with control over, or a passive income stream from, merchandising, touring,

endorsements and other ancillary ventures the artist may undertake.

            43.   Once Universal Music owns the recording, distribution, and/or publishing rights to

a work, it exploits that ownership through licensing deals with third parties. “UMG licenses its

music to hundreds of retailers around the world.”32 These licensing deals allow third parties to

legally use a recording, a musical composition, or portions thereof. Universal Music has licensing

agreements with all of the major platforms, including, but not limited to, iTunes, Amazon, Apple

Music, Napster (formerly Rhapsody), and Spotify, as well as TikTok and Meta (including

Facebook, Instagram, YouTube, WhatsApp, and Threads). In the event that a person or entity

wants to use a song outside of one of the licensed platforms—for example, to play during a political

rally or a sporting event—it has to request the right to do so from Universal Music, which holds


32
     Id.


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the synchronization contract. A third party cannot legally use Universal Music’s recordings or

UMPG’s licensed content embodying those recordings in advertising, on a live stage, in film, on

television, or on the radio without the explicit consent of Universal Music. Through its exclusive

licensing rights, Universal Music wields incredible power to promote and popularize a song or

performer. UMG “invest[s] significant amounts of money, time, and effort to . . . advertise,

promote, sell, and distribute” the music it owns.33

         44.    Universal Music exercised this control in early 2024, when it pulled its songs from

publication on TikTok over issues with the platform’s use of generative artificial intelligence.34

Through copyright ownership, Universal Music can control the unlicensed use of its music, but it

can also strategically waive or reduce the customary fees it charges for the licensing rights to its

music to provide for the unrestricted spread of a song. This tactic, known as “whitelisting,”

happens when a copyright holder, like Universal Music, permits a user or platform to use its

content without charging fees or imposing other limitations. In the normal course, internet

platforms operate automated content identification systems to block the unauthorized use of

copyrighted material by their users. In whitelisting, these automated systems are turned off.

         45.    Universal Music says it “exist[s] to shape culture through the power of artistry”

because music “is unique in its ability to inspire people”35—that power to shape culture and inspire



33
  Complaint ¶ 6, UMG Recordings, Inc. v. Grande Communications Networks LLC, No. 1:17-cv-
00365 (W.D. Tex. Apr. 21, 2017), ECF No. 1.
34
   See Glenn Peoples, UMG’s TikTok Standoff Affects Over 60% of the Most Popular Songs,
Billboard Pro (Mar. 1, 2024), https://www.billboard.com/pro/universal-music-tiktok-fight-affects-
majority-most-popular-songs/ [https://perma.cc/M7FD-5MNH]; Todd Spangler, TikTok Removes
Songs from Taylor Swift, Drake and More After Universal Music Deal Termination, Variety (Feb.
1, 2024), https://variety.com/2024/digital/news/taylor-swift-drake-removed-tiktok-1235894245/
[https://perma.cc/ZD7T-CWYG].
35
     Universal Music Group, Overview, supra note 23.


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people is apparent by the numbers. In its 2023 annual report, Universal Music boasts that it has a

catalog of more than 220 artists and brands, 3.2 million recordings, and 4.5 million owned and

administered titles.36 At the end of 2023, Universal Music had an ownership interest in 61 of the

Billboard Hot 100 tracks.37 In Q1 2024, Billboard reported that UMG represented 33.9 percent of

the record label market share.38 On social media platforms alone, music owned by Universal

Music was streamed 11 trillion times in 2023.39

            46.   UMG’s size dwarves other music companies, and this “size gives it an advantage.”

UMG has “a physical presence in 200 geographic markets” which gives artists signed to UMG “a

critical edge compared to peers at competing labels as the company can amplify the local success

of an artist from one region to the rest of the world.”40

            47.   UMG uses this size and dominance to convince artists to sign with its record labels.

Because of streaming, “it is more of an uphill battle than ever before to capture the audience’s

attention amongst a sea of other songs.”41 UMG’s market position, combined with the flood of

content that hits streaming platforms every day, means that artists “depend on UMG to stand out


36
      Universal     Music     Group,    Annual    Report     at  9            (Mar.      28,   2024),
https://view.publitas.com/cfreport/umg-annual-report-2023/page/9             [https://perma.cc/XJM3-
WKVB].
37
     Peoples, supra note 34.
38
   Dan Rys, Record Label Market Share Q1 2024: Warner Records Posts Huge Gains While
Universal         Enters       a     New      Era,    Billboard      (Apr.     12,     2024),
https://www.billboard.com/business/record-labels/record-label-market-share-q1-2024-universal-
warner-1235655068/ [https://perma.cc/2ETX-7ESV]; Press Release, Universal Music Group N.V.
Reports Financial Results for the First Quarter Ended March 31, 2024, Universal Music Group
(May                                           2,                                      2024),
https://assets.ctfassets.net/e66ejtqbaazg/614OYzS1StqrjuaCDprUYl/b291a4b4eaa4a4c13ab4ee7
e28fb293c/Q1_2024_results_press_release.pdf [https://perma.cc/X6L4-E3K2].
39
     Universal Music Group, Annual Report, supra note 36, at 7.
40
     Kytka, supra note 31.
41
     Id.


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from the crowd.”42 Even established artists depend upon UMG to “maximize their commercial

success through its world-class marketing, proprietary data analytics, global distribution network,

and additional monetization opportunities.”43 Artists sign with UMG, in sum, because “a UMG

partnership” promises to support the artist’s music with “an experienced team of professionals

incentivized to advance [one’s] career.”44

            48.   UMG’s executives are handsomely compensated for exploiting artistic works.

UMG reports that its executive compensation is driven by its transition to more performance-based

packages. UMG executives, including those at Interscope, have an annual incentive program

through which they are rewarded for meeting and surpassing sales and profit projections, among

other metrics. The incentives are largely based on the specific UMG division, rather than the

performance of UMG more generally. For example, the annual incentive or bonus of Interscope’s

CEO, John Janick, is based 90% on the financial success of Interscope and only 10% on the

financial success of UMG generally.

            49.   This division-based incentive structure creates perverse incentives within UMG.

Mr. Janick and other Interscope executives are incentivized to maximize the financial success of

the Interscope labels without taking into account the impact on other UMG labels. For example,

through the promotion of the Recording and its revitalizing impact on Kendrick Lamar’s entire

recording catalog, including his first five studio albums, Interscope and Interscope executives

benefit regardless of the effect on other UMG labels, like Republic, which represents Drake. In a

June 2017 interview, Mr. Janick responded to a question about Sir Grainge’s encouragement of



42
     Id.
43
     Id.
44
     Id.


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competition between the UMG record labels by stating, “I love to compete – and I don’t like to

lose.”45

           50.   UMG is fully aware that musical content, including song lyrics, can defame third

parties, and that “artistic expression” is not free license to harm others. On information and belief,

UMG’s standard longform exclusive recording contract includes a provision which permits UMG

eliminate material which, in UMG’s judgment, constitutes defamation or libel.

                 C.     UMG and Drake Have a Long Partnership.

           51.   UMG began profiting from Drake’s musical recordings in 2009.46 The parties

extended their contract in 2022. After announcing the 2022 contract extension, Sir Grainge

described Drake as one of the “biggest artists of today” and expressed that UMG “couldn’t be

more excited about what lies ahead” for its relationship with Drake.47 Through the contract

extension, UMG profits from its exclusive right to exploit Drake’s music.

           52.   The contract between UMG and Drake is up for renegotiation this year. By the

Spring of 2024, UMG understood that the rise of streaming platforms had “enhanced the

bargaining power of artists. Established artists whose contracts are coming up for renewal are in

an improved position to demand higher take rates due to the improvement in the visibility of cash


45
  Tim Ingham, ‘I’m an entrepreneur… and I don’t like to lose’, Music Business Worldwide (June
20, 2017), https://www.musicbusinessworldwide.com/john-janick-im-entrepreneur-dont-like-
lose/
[https://web.archive.org/web/20171007224803/https://www.musicbusinessworldwide.com/john-
janick-im-entrepreneur-dont-like-lose/].
46
     Concepcion, supra note 24.
47
   Earnings Call Transcript – Universal Music Group N.V. (UMGNF) CEO Lucian Grainge on
Q1 2022 Results, Seeking Alpha (May 3, 2022), https://seekingalpha.com/article/4506501-
universal-music-group-nv-umgnf-ceo-lucian-grainge-on-q1-2022-results-earnings-call-transcript
[https://web.archive.org/web/20221010054001/https://seekingalpha.com/article/4506501-
universal-music-group-nv-umgnf-ceo-lucian-grainge-on-q1-2022-results-earnings-call-
transcript].


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flows and risk reduction.”48 And as described below, on information and belief, UMG was

incentivized to act, and in fact did act, in a manner to reduce that bargaining leverage in advance

of upcoming negotiations with Drake over contract renewal.

                 D.     UMG Has Licensing and Publishing Rights over Kendrick Lamar’s
                        Music.

          53.    On information and belief, from 2012 through 2023, Kendrick Lamar was signed

to an exclusive production company agreement with Top Dawg Entertainment which, in turn,

furnished his exclusive recording services to the Aftermath Entertainment record imprint, a joint

venture of Interscope. The sound recording copyrights to Kendrick Lamar’s first five studio

albums are owned and controlled by Interscope. In 2023, having fulfilled his recording obligations

to Top Dawg Entertainment and Aftermath Records, Kendrick Lamar signed a new short-term

exclusive recording and licensing deal with UMG, through Interscope, and an exclusive publishing

administration agreement with UMG, through UMPG. Through these contracts, UMG exclusively

controls the release, publication, and licensing of all music products created by Kendrick Lamar

during the term of the contract, including the Defamatory Material. On information and belief,

Lamar signed a short-term deal with UMG to see if UMG could prove its value to him—to promote

him more effectively than any other music company could—in a compressed timeframe.

          54.    If successful, Lamar would then continue his relationship with UMG through a

new, longer-term contract. On information and belief, that long-term deal was consummated in

December of 2024.




48
     Kytka, supra note 31.


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          55.    On information and belief, UMG’s contracts with Kendrick Lamar provide UMG

the same right as in its standard longform exclusive recording contract to eliminate material which

may constitute defamation or libel.

                      UMG PUBLISHES THE DEFAMATORY MATERIAL

                 A.     UMG Publishes the Recording and Begins to Defame Drake.

          56.    On May 4, 2024, pursuant to its publication and licensing rights, UMG published

the Recording for streaming on YouTube, YouTube Music, Spotify, Apple Music, Amazon Music,

Pandora, iHeart Radio, Tidal, SoundCloud, Audiomack, Napster, Qobuz, Last.fm, and Deezer, and

made the Recording available for purchase on Apple Music and Amazon Music.

          57.    When viewed on Spotify, Apple Music, Amazon Music, iHeart Radio,

SoundCloud, and Deezer, the Recording includes the following language: “exclusive license to

Interscope Records,” which is a division of UMG.

          58.    Since Defendant’s initial publication of the Recording, the Recording has been

streamed globally more than 1.4 billion times on Spotify alone as of the date of this filing.49

          59.    The Recording repeatedly accuses Drake of engaging in criminal acts, including

pedophilia and/or other acts that would require registering as a sex offender and of being registered

as a sex offender.

          60.    Within the first minute, the Recording identifies Drake by name and states that

Lamar has heard (albeit from undisclosed sources and concerning undisclosed individuals) that

Drake has a predilection for underage women: “Say, Drake, I hear you like ‘em young.”50 The


49
    Spotify Chart History, Not Like Us, Kworb.net (last visited Apr. 16, 2025),
https://kworb.net/spotify/track/6AI3ezQ4o3HUoP6Dhudph3.html
[https://web.archive.org/web/20250415024257/https://kworb.net/spotify/track/6AI3ezQ4o3HUo
P6Dhudph3.html].
50
     Recording, supra note 3, at 00:40-00:42 (emphasis added).


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next line is a thinly veiled threat that Drake should be careful that he never ends up in prison, a

place where child predators are notoriously the targets of violence: “You better not ever go to cell

block one.”51 The Recording continues to say that any woman who falls in love with Drake should

be careful to “hide” her “lil’ sister from him.”52

          61.    Next, in a perverse reference to Drake’s 2021 album “Certified Lover Boy:”

“Certified Lover Boy? Certified pedophiles.”53 In a play on the dual meaning of minor—a person

under the age of 18 and a musical scale—the Recording says that Drake is “Tryna strike a chord

and it’s probably A-Minor.”54 Later in the Recording, Lamar describes Drake as “Malibu most

wanted.”55 The Recording continues to say that Drake and the people in his circle need to be

served with a “subpoena” because a “predator” moves “in flocks” and asserts that Drake’s name

“gotta be registered and placed on neighborhood watch.”56

          62.    The Recording also repeatedly suggests that violence should be used against Drake

because he is a pedophile. Like the sound of someone being beaten up, the Recording repeats

“wop, wop, wop, wop” and then says Lamar will “fuck ’em up.”57 Later, the Recording threatens

that if Drake comes to Oakland, he will not make it out alive: “I think that Oakland show gon’ be

your last stop.”58 The Recording makes clear that justice will be served not through the legal

system and/or commentary on social media, “Fuck a caption,” but through physical violence,


51
     Id. at 00:42-00:45 (emphasis added).
52
     Id. at 00:45-00:50 (emphasis added).
53
     Id. at 00:57-01:00 (emphasis added).
54
     Id. at 01:06-01:14 (emphasis added).
55
     Id. at 01:40-01:42 (emphasis added).
56
     Id. at 02:11-02:15 (emphasis added).
57
     Id. at 00:57-01:02 (emphasis added).
58
     Id. at 01:25-01:28 (emphasis added).


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“want action, no accident, and I’m hands-on, He fuck around, get polished.”59 At the end of the

Recording, the lyrics threateningly repeat: “Hey, hey, hey, hey, run for your life, Hey, hey, hey,

hey, run for your life.”60

          63.    The Recording contains numerous additional statements that imply the existence of

evidence to support the allegations against Drake. The Recording expressly represents that Lamar

possesses additional undisclosed information about Drake, “Rabbit hole is still deep, I can go

further, I promise,” and that the public will believe him: “The audience not dumb, Shape the

stories how you want, hey, Drake, they’re not slow.”61 The Recording continues by making

reference to several Drake songs (“Family Matters” and “God’s Plan”) and accusing Drake of

being a liar for denying allegations of criminality: “The family matter, and the truth of the matter,

It was God’s plan to show y’all the liar.”62 The Recording also makes a vulgar attack on Drake’s

brand OVO: “What OVO for? The ‘Other Vaginal Option’? Pussy”63 and “Let me hear you say,

‘OV-hoe’ (OV-hoe), Say, ‘OV-hoe’ (OV-hoe).”64

          64.    Furthering the Recording’s refrain that Drake is “not like us,” the Recording alludes

to Drake’s Jewish heritage, saying that Drake is “not a colleague” but “a fuckin’ colonizer.”65

          65.    With the Recording, UMG also published an accompanying Image on May 4, 2024,

to YouTube, YouTube Music, Spotify, Apple Music, Amazon Music, Pandora, iHeart Radio,




59
     Id. at 01:57-02:01 (emphasis added).
60
     Id. at 03:50-03:54, 04:00-04:04 (emphasis added).
61
     Id. at 01:33-01:39 (emphasis added).
62
     Id. at 03:32-03:36 (emphasis added).
63
     Id. at 01:49-01:53 (emphasis added).
64
     Id. at 04:03-04:09 (emphasis added).
65
     Id. at 03:29-03:32 (emphasis added).


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Tidal, SoundCloud, Audiomack, Napster, Qobuz, Last.fm, and Deezer, the UMPG website,66 and

Meta and TikTok.67 Any person who views, listens to, or streams the Recording on one of these

platforms can view the Image.

             Image on Google Images:                            Image on Apple Music:




                 Image on Spotify:                             Image on Amazon Music:




       66.    The Image features an aerial view of Drake’s Toronto home, includes identifying

information regarding the location of the home, and is covered in the icons used by law



66
    Song Details, Not Like Us by Kendrick Lamar, Universal Music Publishing Group,
https://www.umusicpub.com/us/Digital-Music-Library/song/547780/kendrick-lamar-not-like-us
[https://perma.cc/UDS2-D9J7?type=image].
67
    Kendrick Lamar | Not Like Us on Instagram, Instagram (May 4, 2024),
https://www.instagram.com/reels/audio/1182175136281886/?igsh=Z3pvOWdxNGRxb3Vw (for
use in Instagram users’ Reels); Kendrick Lamar | ♬ Not Like Us | on TikTok, TikTok (May 4,
2024), https://www.tiktok.com/t/ZTNvgJGCM/ (for use in TikTok users’ videos).


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enforcement and public safety applications like Citizen to identify child sex offenders and their

residences on public registries.

       67.     As of the date of this filing, UMG’s original publications of the Recording and

Image remain available on the aforementioned platforms.

       68.     At all relevant times, UMG knew that the allegations in the Defamatory Material

were baseless. And despite being able to contact Drake, at no point has UMG ever asked Drake

or his representatives about whether the allegations in the Defamatory Material were true.

       69.     On information and belief, Sir Grainge and Mr. Janick were involved in the initial

publication of the Recording and Image. Separately, on information and belief, Monte and Avery

Lipman (Republic CEO and President, respectively) failed to prevent the publication.

               B.      The Defamatory Material Is False.

       70.     The allegations against Drake are unequivocally false. Drake has never been

charged with, indicted for, or convicted of any charges of sexual violence or assault, including, but

not limited to, sexual violence against a minor. Nor has Drake ever engaged in an inappropriate

romantic or sexual behavior with a minor.

       71.     The Recording provides no evidentiary support for any of its defamatory

allegations. Instead, the Recording’s allegations are based entirely on undisclosed fact, and

expressly refers to such undisclosed facts as described above.

               C.      People Believe and Repeat the Allegations in the Recording and Image.

       72.     The Recording’s allegations about Drake were understood to be factual assertions

against Drake from the moment UMG published it. Whatever generalities might be applied to hip

hop tracks in the abstract plainly did not hold here, as evidenced by the commentary that appeared

online, and in social and legacy media channels, as soon as UMG published the Recording and




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Image. Countless posts and comments reveal a widespread public perception that the Recording

and Image convey factual allegations against Drake.

       73.     As one user put it: “This isnt a diss, it’s the truth. The culture isnt just not fw

[fucking with] with Drake, its correcting itself by kicking out these predators (Drake, Diddy

etc).”68 Another user wrote that the Recording is “telling the truth” about Drake being a “pedo.”69

Another commenter posted “Drake has more than 800k dislikes on that song cuz everybody

believe he loves touching children cuz we have evidence everywhere.”70

       74.     The fact that the allegations came packaged in rap lyrics did not dissuade listeners

from erroneously believing the allegations to be true. For example:

                  “I LOVE THIS SONG‼ We would have never known Drake is a
                   whole pedophile if this information wasn’t exposed!;”71 and

                  “Respect and love you Kendrick for keeping it [100 emoji]. From your
                   tone, anger, and passion behind your words there is no doubt on my
                   end that Drake is indeed a pedophile.”72




68
  User @mrright8439, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,                 YouTube                 (July              4,                2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=Ugye0CflEuIQFc1WdCx4AaABAg
[https://perma.cc/Q2SH-PR7Q] (emphasis added).
69
  User @kaioken8026, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like Us, YouTube (May 11, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugx23-NZg6eB0Hspdt14AaABAg [https://perma.cc/39F6-26RR].
70
  User @itzmglo892, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,       YouTube     (May     7,     2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugz5w9YjkanJST3x9KN4AaABAg.A37cQ9A2ziqA37jeqR4n-q
[https://perma.cc/3LRV-FNB6] (emphasis added).
71
  User @pareeshaslaughter6798, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar
– Not Like Us, YouTube (May 8, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgxjAPntCJymjhPSKUR4AaABAg [https://perma.cc/ZUW3-6DYQ] (emphasis
added).
72
  User @davidkwon1322, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like Us, YouTube (May 11, 2024), https://www.youtube.com/watch?v=T6eK-

                                                29
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       75.    Moreover, any reasonable listener would have understood that Kendrick Lamar was

claiming to know more information about Drake than he disclosed in the Recording’s lyrics. The

public noticed and commented on this unmistakable message.: “Bro just exposed drake of running

with pedos n sex offenders. [I don’t know,] I don’t think Kendrick is dumb to make false

accusations, I don’t wanna assume without proof but shi ain’t looking good for drake. Like I feel

like he still holding some shi back and ain’t sayin everything he knows bout drake.”73 Others

echoed:

                 “I don’t wanna be that guy but I never took Drake seriously, he’s Canadian, he
                  was in Degrassi that stuff makes it hard for me to take him seriously. I thought
                  that’s why Kendrick went after him. Now that it’s more serious than just Drake
                  being fake, I’m like wow if I knew all this I’d hate Drake too. This is check
                  mate for Drake because how exactly do you respond to someone calling you a
                  sociopath, a deadbeat and a pedo? As for KL I just wanna know how he
                  found out some of these things and what took so long to call Drake out;”74 and

                 “This whole thing is beyond brutal at this point. Kendrick must truly fucking
                  hate Drake for some reason. Makes me inevitably think there might be real
                  merit to the pedophile claims. Sorry Drake, Kendrick is literally making
                  me think it. Jesus christ, talk about winning a rap beef [laughing emojis].”75




2OQtew&lc=UgwRetHb_AixNVevbUp4AaABAg                 [https://perma.cc/72X5-2L9U]      (emphasis
added).
73
  User @ZxZNebula, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,     YouTube     (May     5,     2024),    https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugy3GxrXDhB4FrdpL4l4AaABAg [https://perma.cc/5929-W5MN] (emphasis
added).
74
   User @miguelzurita3216, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 8, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgzepMW_ZmA-jpOZ4lp4AaABAg.A39Umhbxa2hA39oO8zdpS7
[https://perma.cc/X89T-2XU6] (emphasis added).
75
  User @11cockrellm, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,                YouTube                (July                7,                2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgxIuAXkpmfSycCn6wV4AaABAg.A
5XwaGEIEB0A5_wDJFEk8J [https://perma.cc/VUT8-5875] (emphasis added).


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       76.       Many listeners focused on the line “Rabbit hole is still deep, I can go further, I

promise,” as implying that the lyrics were based on undisclosed information. One user commented

“‘Rabbit hole still deep I can go further I promise’ .....drake waves white flag ends beef. I wonder

what else he was scared about coming out? Hmmmmm[.]”76 In response to the Super Bowl

Performance in February 2025, one user commented: ‘Rabbit hole is still deep, I can go further, I

promise’ never doubt about this quote ever again[.]”77 Other users drew similar conclusions

from the Recording’s words:

                “1:38 ‘rabbit hole is still deep i can go further i promise’ is WILDLY
                 APPROPRIATE [laughing crying emoji] while feds slowly unfolding Diddy’s case
                 and these sick fcks.”78

                “rabbit hole goes deep i can go further i promise’ he did NOT lie.”79

                “Rabbit hole still deep, i can go further!!! In the last diss and With everything kenny
                 said No wonder all these things unfolding on drake now.”80




76
  User @chadwickmitchell7067, Comment, Kendrick Lamar – Not Like Us, YouTube (June 25,
2024),                                         https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugyq0MQfTjoSr3brV354AaABAg [https://perma.cc/4KUE-VT69].
77
  User @kaatzir, Comment, NFL (@NFL), Kendrick Lamar's Apple Music Super Bowl Halftime
Show,   YouTube      (Feb.   10,  2025),    https://www.youtube.com/watch?v=KDorKy-
13ak&google_comment_id=UgxA8pQJR7YG4d03L9R4AaABAg              [https://perma.cc/NW66-
JNBZ].
78
  User @PANIITAEEE, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like   Us, YouTube    (Oct.  18,   2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgzO24fbJ-ThOE8S67F4AaABAg [https://perma.cc/7NNC-N3FV].
79
   User @Caesxr15, Comment, Kendrick Lamar – Not Like Us, YouTube (Sept. 12, 2024),
https://www.youtube.com/watch?v=H58vbez_m4E&google_comment_id=UgytBGnzzuOv7XM
s2WB4AaABAg [https://perma.cc/ZG5U-JE5F].
80
   User @sauravpanwar5304, Comment, Kendrick Lamar – Not Like Us, YouTube (Nov. 30,
2024),
https://www.youtube.com/watch?v=H58vbez_m4E&google_comment_id=UgwincGLPc0KVTB
4OPR4AaABAg [https://perma.cc/YV3E-TA5F].


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          77.    It is entirely unsurprising that the public interpreted the Recording’s lyrics as

assertions of fact. On April 30, 2024, less than a week before the release of the Recording, UMG

had released an earlier song by Kendrick Lamar (“Euphoria”) that threatened that he “won’t tell

truths ’bout” Drake if Drake “don’t tell no lie about me,”81 and ominously stated that he “know

some shit” about Drake.82 To the reasonable listener familiar with these lyrics, any future

allegations levied by Lamar against Drake would be based in “truth” and undisclosed fact.

          78.    Moreover, the Image, which depicts Drake’s Toronto residence and 13 sexual

predator icons, likewise caused viewers to believe the allegations against Drake. One user asked:

“[w]ho are the 13 pedophiles at Park Lane Circle?? [eyes wide emoji] [eyes wide emoji]”

demonstrating that they believed the Image to be accurately depicting who lived or spent time in

the home.83 Other users similarly remarked:

                    “Just realized the thumbnail is from the sexual predators app;”84

                    “Omg is that a sex offender map on drakes house;”85




81
   Kendrick Lamar (@kendricklamar), Euphoria, at 00:51-00:54, YouTube (Apr. 30, 2024),
https://www.youtube.com/watch?v=NPqDIwWMtxg [https://perma.cc/E5NC-JC9B].
82
     Id. at 03:02-03:05.
83
   User @Eagle252, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,                 YouTube                (July              21,              2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=Ugw3GlxFm03VtNn8CmB4AaABAg
[https://perma.cc/B5U9-HY44] (emphasis added).
84
  User @mnmsaregood1, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like    Us, YouTube    (May    5,   2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugx5fmeYbCAsOIjUV1F4AaABAg [https://perma.cc/F449-K7YE] (emphasis
added).
85
   User @pinkengineering (formerly @imcicily), Comment, Kendrick Lamar (@kendricklamar),
Kendrick      Lamar     –     Not    Like      Us,   YouTube       (May    5,     2024),
https://www.youtube.com/watch?v=T6eK-2OQtew&lc=UgzH35b0IFiCS51IHJV4AaABAg
[https://perma.cc/V2Z5-CR5F].


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                 “NAH THAT MANY PEDOS IN ONE                                 SPOT   IS
                  CRAZYYYYYYYYY DRAKE CANCELED;”86

                 “Drake housing a bunch of pedos at his house [nervous laughing with
                  sweat emoji];”87

                 “Yoooooo Sex offenders have to register Red means sexual assault
                  against a minor. Drake has 13 of them living in his house?”88 and

                 “Drakes pedo mansion those are the markers used to show pedos that
                  live next to you kids.”89

       79.    People all over the internet also questioned why Drake had not yet been arrested

and called for the police, the FBI, and the Central Intelligence Agency (CIA), as well as Child

Protective Services (CPS), to investigate the statements in the Recording. In comments on UMG’s

initial publications of the Defamatory Material to YouTube, users wrote:

                 “The FBI needs to come at this point [laughing emoji];”90




86
  User @Geni167, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,     YouTube    (May     5,     2024),    https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugy73wSHQ38O1YYo84x4AaABAg [https://perma.cc/9KDG-RXJW] (emphasis
added).
87
   User @Shakia-mi1og, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like Us, YouTube (May 17, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwMgoIPSKsI516iTF94AaABAg.A3XNv8zVrnZA3XRS50IeSA
[https://perma.cc/8NVP-UC9W] (emphasis added).
88
  User @mothernature5828, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 6, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgxwdAg-d_sYmcG_0Id4AaABAg [https://perma.cc/VK97-MP3D] (emphasis
added).
89
  User @supersayian193, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like     Us,    YouTube   (May   7,   2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugy_x-jK0HeBXZBeHCN4AaABAg.A39CQVU26nfA39Ce8tDLbA
[https://perma.cc/265S-BHE2].
90
 User @WrestlingWarrior15, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 30, 2024), https://perma.cc/WR5J-KX7G.


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                “hey kendrick don’t diss drake it’s waste of time just call the cops and
                 snitching drake is pedophille so drake go to jail and you can win bye
                 [thumbs up emoji];”91

                “Hide your children from Drake;”92

                “If what kendrick is saying is true, drake needs to be locked up;”93

                “Drake just need to be locked up;”94

                “Yo Im about to call Child Proctective Services because this is
                 abuse;”95

                “Drakes #1 opp is child protected services;”96

                “At this point, CIA and FBI need to step in;”97


91
  User @naive-u8f, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,     YouTube      (May     6,     2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgzpsCFEw2wNtXO-mH54AaABAg [https://perma.cc/2X7B-UKHK] (emphasis
added).
92
  User @kevinryt4963, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like   Us,   YouTube    (May    5,    2024),  https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugwo7YQXyO6bZmAqW754AaABAg [https://perma.cc/CEU5-EKW5].
93
   User @meowmeow1234meow, Comment, Kendrick Lamar (@kendricklamar), Kendrick
Lamar – Not Like Us, YouTube (May 5, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgyiEogmH8Ko5jqUZfR4AaABAg [https://perma.cc/2ENM-4L28] (emphasis
added).
94
  User @saitherabbit, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,       YouTube      (May     9,     2024),    https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgyC3ae8cvJNGi_Z7494AaABAg.A3C0TcZ0FxJA3C4-bWM6H-
[https://perma.cc/RZ38-GBY9].
95
  User @loverunsdeep6382, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 5, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgxIrboIuH_WN61Qn-54AaABAg [https://perma.cc/LHU9-KY2E] (emphasis
added).
96
  User @Ben10295, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,     YouTube     (July   8,     2024),    https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugz30tyV7Su15LLOABN4AaABAg [https://perma.cc/8MCD-H4AK].
97
  User @NnewidiewiChukwu, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 17, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwGvIubOjB_ZqaYyF14AaABAg [https://perma.cc/DAE3-KMGJ] (emphasis
added).


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                 “I like the step this way step that way are we locked in, I picture drake
                  getting locked behind bars;”98

                 “Even nerds know if you’re messing with kids you don’t do good in
                  jail;”99 and

                 “[E]veryone is dancing to drake being a pedo getting violated in
                  prison.”100

       80.    Some comments went so far as to specifically reference Drake’s seven-year-old son

by name: “It's scary if what Kendrick said is true about Drake .. mother of Adonis, save your

child;”101 “Adonis gets to play with the trapped kids in Drakes mansion when he does good;”102 “I

don’t think Drake can even attempt to parent Adonis anymore [crying emoji];”103 and in an

especially vile post, “I bet Drake touches Adonis too.”104




98
  User @jthe9eleven11, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like   Us,   YouTube     (May    7,   2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgyDl-LWP-L6cq5HwiB4AaABAg [https://perma.cc/D66Y-M72Y].
99
   User @randomforyoutube3215, Comment, Kendrick Lamar (@kendricklamar), Kendrick
Lamar – Not Like Us, YouTube (May 7, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwHQYlQsr1DeR8drm94AaABAg.A377Gd2IUF9A378s0FtOk0
[https://perma.cc/KPK9-SAHX].
100
   User @ImChickenLittle, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like     Us,    YouTube    (May   8,   2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgzukLEOCNlaEbrb_Nd4AaABAg.A39hSm0r_5uA39hf9iwdiv
[https://perma.cc/LSV3-7XTV].
101
  User @Uh-no, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube (May 8, 2024), https://perma.cc/G6P2-MNZ8.
102
   User @chillbloc, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,     YouTube       (May     6,     2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgyWti6FnAy1qD851Tt4AaABAg [https://perma.cc/X88Y-8WXY].
103
   User @DarthD13, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,     YouTube     (May     8,     2024),    https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgzbkuT5VTQlho-wiG94AaABAg [https://perma.cc/9RQV-DFWQ].
104
  User @a3lzv, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube (June 1, 2024), https://perma.cc/EB2G-ZUPN (emphasis added).


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       81.     Others compared Drake to infamous people who have actually been charged with

and found guilty of sex crimes. In comments on UMG’s initial publication of the Recording and

Image to YouTube, users commented, “[D]rake is a pedophile and sexual abuser on the level of

Weinstein, Diddy, and Epstein”105 and “people like Drake, [W]einstein and Epstein, using power

and money to humiliate and terrorize and traffic and groom females and children.”106

       82.     Many posters turned to racial and religious slurs against Drake, who is mixed race

and Jewish.     For example, users on YouTube and X commented: “Its drake the that

pedojewboy;”107 and “Drakes jew protection pedo team will get him off.”108

       83.     And the harassment has not been limited to Drake. People with little to no

affiliation with Drake have found themselves in the crosshairs. Comedian Tracy Morgan was

subject to awful social media scrutiny after posting an Instagram photo of his adolescent daughter

with Drake. Users commented “[D]rake should not be allowed to take pictures with girls,” “I think

he likes them HS age,” “[h]e’s probably grooming her,” “Drake likes minors” and made references

to the Defamatory Material through GIFs and quotations of the Recording’s lyrics.109


105
  User @TheRealRyanMickens, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar
– Not Like Us, YouTube (May 8, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgzDjAlJPQtrc1E2Eqd4AaABAg [https://perma.cc/SS4F-Y8DZ].
106
   User @ogekanvas, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,       YouTube     (May    12,    2024),    https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgxKXmpopglRXFMYsWx4AaABAg.A3K_djsknWrA3L_48a7YKz
[https://perma.cc/8URW-9PEH].
107
    User @drpuffnstuff5672, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 8, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwUebwBrfII3ODMqqp4AaABAg.A3BSskE0bxYA3BUxB3n0HY
[https://perma.cc/5KEM-T7AN] (emphasis added).
108
   User @user-qk9he7se5w, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 25, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugxr1AwronL0IuGi3fx4AaABAg [https://perma.cc/AS6V-LEJA].
109
         Tracy     Morgan      (@tracymorgan),   Instagram       (Feb.     11,    2025),
https://www.instagram.com/tracymorgan/p/DF9NJb4xbW0/       [https://perma.cc/3QJN-KCB9]

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            84.   The public’s understanding was not limited to social media users. In a May 10,

2024 recording of the “It’s Been a Minute” show produced by National Public Radio (NPR), host

Brittany Luse discussed the allegations in the Recording with NPR Music Reporter Sidney Madden

and writer Tirhakah Love.110 They understood the Recording to be linking Drake and his alleged

criminal behavior to other famous figures who were revealed to the public as sexual predators and

later convicted for their crimes, such as rapper R. Kelly.111 Ms. Madden insinuated that the

allegations could be true, commenting that so “much dirt has been unearthed.”112 To Love, the

allegations rose to the level of warranting an investigation:113 because while this “sort of behavior”

[meaning sexual violence] is “in our faces for a lot of different industries,” it is unusual for the

allegations to come from “contemporaries.”114 The podcast positioned the Recording as having

the potential to be a tipping point for a #MeToo movement in the world of hip-hop.115

            85.   Luse explicitly asked her guests whether they considered the allegations in the

Recording to be art or “cause for an actual criminal investigation.”116 Ms. Madden answered by




(comments from users @canadianbacon12, @chola_nerd, @choosen_184, and @rawdoggy1998
preserve offline).
110
    Drake and Kendrick are beefing, but who pays? Plus, moms as our social safety net, It’s Been
a              Minute,             NPR               (May              10,                2024),
https://www.npr.org/transcripts/1197956376?ft=nprml&amp;f=1197956376
[https://perma.cc/T8H2-5F59].
111
      Id.
112
      Id.
113
      Id.
114
      Id.
115
      Id.
116
      Id.


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pointing to the trial of rapper Young Thug, who was recently criminally prosecuted in Georgia on

RICO charges, in a case where the prosecution relied heavily on rap lyrics as evidence.117

            86.   Numerous articles were written exploring the meaning of the Recording’s lyrics,

including discussions of the purported factual basis for those lyrics.118

            87.   Other influencers suggested the possible truth of the allegations. During his set at

a May 7, 2024 charity event, actor and comedian Seth Rogen commented on how Drake must feel

now that “people are dancing” to a song that calls him a sexual predator.119 Mr. Rogen said, “Could

you imagine going to a club and seeing a room full of people dancing to a song about you being a

pedophile? Especially if you were one? I don’t know if he is, but if he was, I assume that’d be a

very alarming moment in your life. ‘Oh no, they’re on to me.’”120

            88.   Many comments turned violent and threatening, repeating the calls for violence

against Drake in the Recording:



117
      Id.
118
   See, e.g., Demi Phillips, Kendrick Lamar “Not Like Us” Lyrical Breakdown, Hot New Hip Hop
(June 20, 2024), https://www.hotnewhiphop.com/798807-kendrick-lamar-not-like-us-drake-lyrics
[https://web.archive.org/web/20250228095930/https://www.hotnewhiphop.com/798807-
kendrick-lamar-not-like-us-drake-lyrics] (“Kendrick . . . continues with a series of accusations and
metaphors that paint Drake as weak, untrustworthy, and worse, a predator.”); Jordan Rose,
Breaking Down All of the Ways Kendrick Lamar Attacked Drake on “Not Like Us”, Complex
(May 5, 2024), https://www.complex.com/music/a/j-rose/breaking-down-the-ways-kendrick-
lamar-dissed-drake
[https://web.archive.org/web/20240901130224/https://www.complex.com/music/a/j-
rose/breaking-down-the-ways-kendrick-lamar-dissed-drake]; Miki Hellerbach, Decoding
Kendrick       Lamar’s     “Not     Like   Us”     Video,       Complex       (July     5,    2024),
https://www.complex.com/music/a/complex/kendrick-lamar-not-like-us-video-decoding-hidden-
meanings [https://perma.cc/XWT8-CKN7].
119
    Derrick Rossignol, Seth Rogen Pinpoints The Moment Drake Officially Lost the Kendrick
Lamar Beef and Marvels at How Crazy the Whole Thing Is, Uproxx (May 8, 2024),
https://uproxx.com/music/seth-rogen-drake-kendrick-lamar-pedophile/ [https://perma.cc/W9GP-
QUUX].
120
      Id.


                                                   38
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                   “Drake not going to be able to touchdown into Cali going forward.
                    Somebody gonna Biggie Smalls him. Homies out here don’t tolerate
                    pedophilia. Not even joking;”121 and

                    “[T]his is one of those situations where you kinda just gotta kill yourself
                    if you’re drake.”122

         89.    That reasonable people would believe the allegations contained in the Defamatory

material was entirely foreseeable. Allegations of pedophilia are a cultural lightning rod.

         90.    Less than a month after UMG published the Recording and Image, author Martin

Vidal published an article titled “The Drake-Kendrick Rap Beef: A Case Study of Mob

Psychology.”123 Mr. Vidal explains that “mob mentality” is a psychological state that causes

people to abandon nuance, label anyone who defends the accused as being guilty of the same

actions of the accused, reward those who perpetuate their cause, and do bad in the name of doing

good, even when accusations are made without supplying any evidence. Mr. Vidal concludes that

the public reaction to the allegations against Drake were classic mob mentality, citing the shooting

and other trespassing incidents, instances of vandalism at Drake’s OVO stores, and overwhelming

negative public outcry.

         91.    Mr. Vidal explains that this mob mentality is why people can believe the allegations

despite the fact that “Drake has never been accused of inappropriate behavior with a minor (or

something similar, like grooming) by any underage or formerly underage person he’s interacted




121
   User @photograffito, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like   Us,   YouTube      (May    5,   2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwhwswcQjXOw7c9t_d4AaABAg [https://perma.cc/XEH3-KMQH].
122
      Kelly (@BoyYeetsWorld), X (June 19, 2024), https://perma.cc/3JLZ-XTBQ.
123
   Martin Vidal, The Drake-Kendrick Rap Beef: A Case Study of Mob Psychology, Medium (May
24,    2024),     https://medium.com/the-riff/the-drake-kendrick-rap-beef-a-case-study-of-mob-
psychology-30d42b46b3a7 [https://perma.cc/6H27-F2ZS].


                                                  39
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with, or their families, or their acquaintances, and just about every alleged victim of such has come

out in defense of Drake.”

            92.   According to Mike Rothschild, an author and expert on conspiracy theories,

accusations of pedophilia are particularly ripe for conspiracies.124 He describes that allegations of

child sexual abuse cause people to “immediately just lose their mind — even if these children

don’t exist” and even “if you just put out the suggestion there, it grabs ahold in a way that is

difficult to dislodge.”125 Mr. Rothschild also notes that social media exacerbates conspiracy

theories because the spread of information, or disinformation, can happen so much more rapidly

than in the analog age.126

                  D.       Drake Is the Target of Violence Almost Immediately.

            93.   Not only did people believe the allegations in the Recording and the Image, some

acted on them.

            94.   Within days after UMG’s initial publication of the Recording and Image, which

depicted the location of Drake’s residence in Toronto, accused him of being a criminal pedophile,

and called for violence against him, multiple strangers, including at least one armed with a deadly

weapon, targeted Drake.

            95.   At 2:00 A.M. on May 7, 2024, a group of men drove by Drake’s Toronto residence,

screamed “Fuck Drake,” and released at least two shots. One bullet went through the security

fence and hit Drake’s front door. Another bullet hit and seriously wounded Drake’s security guard.

Drake and others in the house rushed to the man’s aid, trying to keep him from bleeding out while




124
      Kim, supra note 9.
125
      Id.
126
      Id.


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the ambulance came. The injuries he sustained were serious and, for two days, doctors were not

sure if he would live.

       96.     The news quickly jumped on the story of the violent attack against Drake, with all

the major news outlets publishing stories. For days news helicopters flew overhead the Toronto

house. While no one from UMG ever reached out to Drake or any of his representatives to check

on his well-being, UMG undoubtedly saw the press coverage of the attack.

       97.     Also on May 7, 2024, across the globe in London, United Kingdom, Drake’s OVO

clothing store was vandalized with graffiti that read: “They not like us.” The graffiti was likely

viewed by hundreds of Carnaby Street passersby before the glass window could be removed and

millions online once the news broke.

       98.     On May 8, 2024, a different invader attempted to break in to Drake’s property by

using his bare hands to dig under the security gate. The invader slid under the fence and entered

the property, screaming racist slurs and violent threats toward Drake.             The invader was

apprehended by security before making it to the house.

       99.     On May 9, 2024, there was another trespasser on Drake’s Toronto property, this

time the trespasser got into a physical altercation with Drake’s security guards before being taken

away by the police. The individual returned to Drake’s property on May 11, 2024.127

       100.    These acts of violence against his residence, where Drake lives with his family, and

against his business, are not normal. In all the years he has been a celebrity, nothing like the events

of early May has ever happened to Drake before. After these attacks, Drake reasonably fears for

the safety of his family, and himself, particularly at his Toronto property. Following the May 7,


127
   Trent Fitzgerald, Drake’s Security Confronts the Same Intruder for Second Time at His Toronto
Estate, XXL Magazine (May 11, 2024), https://www.xxlmag.com/drake-security-third-intruder-
toronto-estate/ [https://perma.cc/GK54-7LPA].


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2024 shooting, Drake temporarily pulled his seven-year-old son out of school and the Toronto

area.

          101.   Drake lives his life differently since UMG published the Defamatory Material.

Drake has increased his security team in Toronto and everywhere he goes.

                 E.      Drake Publicly Denies the Defamatory Material.

          102.   On May 5, 2024, just a day after UMG published the Recording and Image, Drake

denied all of the allegations in a song called “The Heart Part 6.”128 Drake explained that he has

“never been with no one underage” and that his name is not on the “sex offender list.”129

          103.   Despite being able to contact Drake, UMG did not ask Drake or his representatives

to discuss his denials of the allegations contained within the Defamatory Material.




128
    Drake (@DrakeOfficial), THE HEART PART 6 – DRAKE, YouTube (May 5, 2024),
https://www.youtube.com/watch?v=HJeY-FXidDQ [https://perma.cc/K6P7-6YS5].
129
      Id. at 02:18-02:19, 02:49-02:52.


                                                42
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          104.   Belief in the truth of Defamatory Material persisted in direct response to Drake’s

denial of the claims in “The Heart Part 6”:130




                 F.     UMG Continues to Defame Drake by Publishing the “Not Like Us” Music
                        Video.

          105.   On July 4, 2024, two months after UMG initially published the Recording and

Image, UMG published a “Not Like Us” music video on YouTube131 and to users of Apple




130
    Sultan of SOLana.Wen (@ropexgang), X (May 6, 2024), https://perma.cc/W7EU-TG53; see
also            IAintGonCap           (@IAintGonCap),             X          (May          5,
2024), https://x.com/IAinGonCap/status/1787300175054049618 [https://perma.cc/GT6T-2AYL]
(“Kendrick didn’t lie about anything! You fed misinformation for him to expose you having a
Fake Daughter but he still smoked and broke you down for being into Underage Girls, being
addicted to pills,your camp having Sexual Assaults and also you having gambling problem which
are ALL TRUE and One is Subjective the Gambling…Your Spiraling More and The Fart 6. Ain’t
it. #OVHO #MeetTheGrahams.”).
131
      Video, supra note 5.


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Music132 and Tidal.133 UMG did so with knowledge of the actual violence and online threats that

ensued from its initial publication of the Recording, as well as its understanding that countless

listeners had understood the Recording and Image to convey statements of fact.

                                            Video on YouTube:




            106.   On YouTube, a watermark for Vevo LLC appears in the bottom right of the

Video.134 The YouTube caption for the Video lists a Vevo LLC URL, http://vevo.ly/NcHpoC.135

Universal Music is a significant owner of Vevo LLC (“Vevo”), which is a privately held American

multinational music video-hosting service. Universal Music uses Vevo to distribute video content

to global platforms, such as YouTube and major television networks.

            107.   The Video depicts images bolstering the Recording’s defamatory allegations. For

example, the lyrics “Tryna strike a chord and it’s probably A-Minor” are matched with an image




132
    Kendrick Lamar, Not Like Us [Explicit], Kendrick Lamar, Apple Music (July 4, 2024),
https://music.apple.com/us/music-video/not-like-us/1755691074    [https://perma.cc/GR3L-
PGWX].
133
         Kendrick     Lamar,      Not    Like       Us,    TIDAL    (July            4,    2024),
https://tidal.com/browse/video/373513584 [https://perma.cc/8AZN-X2K9].
134
      Video, supra note 5.
135
      Id.


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of hopscotch, a popular playground game for children.136 The imagery reinforces the drawn-out

singing of the “A-Minor” lyric and the lie that Drake is a pedophile.




          108.    Kendrick Lamar is depicted in front of shipping containers with air-conditioning

units inside. These images are associated with sex trafficking.




          109.    The Video also includes allusions to Drake’s OVO brand, which is represented by

an owl. In combination with the lyrics “Wop, wop, wop, wop, wop, Dot, fuck ‘em up,” the Video




136
      Id. at 01:43-01:51.


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shows Lamar beating an owl-shaped piñata with a bat.137 During this scene, a caption appears at

the bottom of the video that states: “DISCLAIMER: NO OVHOES WERE HARMED DURING

THE MAKING OF THIS VIDEO.”




            110.   In its conclusion, the Video depicts a prolonged shot of a live owl in a cage.138 The

meaning is clear: Drake belongs behind bars.

            111.   Defendant’s initial publication of the Video on YouTube has been viewed more

than 320 million times as of the date of this filing.139 As of the date of this filing, UMG’s original

publications of the Video remain available on the aforementioned platforms.

            112.   On information and belief, each of Sir Grainge, Mr. Janick, Mr. Monte Lipman,

and Mr. Avery Lipman played a key role in the initial publication of the Video either in directing

or approving the publication and/or failing to prevent its publication.

                   G.       The Video Causes More People to Believe the Allegations Against Drake.

            113.   Just as with the publication of the Recording and Image, as soon as UMG published

the Video, people began expressing belief in the allegations against Drake. Posts reacting to the


137
      Id. at 01:36-01:42.
138
      Id. at 05:04-05:20.
139
      Id.


                                                    46
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Video, also numbering in at least the hundreds of thousands, are indistinguishable from those

reacting to the Recording and Image.

       114.   Users again confirmed their belief in the allegations and that the allegations were

based on some facts known by Lamar, but yet undisclosed to the public: “The caged owl. Got me

truly believing Kendrick know Drake going to prison possibly.”140 Others commented: “We

have an anti-PDF anthem! About time. No justice for guys like Diddy, Epstein, and Drake and

all the victims they cause much less the Johns.”141 One user characterized Drake of being just

another “Hollywood pedo[].”142

       115.   Users made anti-Semitic remarks:

                 “I’ll say it..... Them jews are the colonizers.... That’s who Drake
                  represent..... We got to take our music back from those DEVILS.....;”143

                 “On a deeper level they not like us,. Understand Drake is a Kazarian
                  Jew. If you know the history you know that they stole the identity of the
                  true biblical Semitic Israelites ‘US’ and are claiming to be Jewish people




140
    User @Leonard_Washington76, Comment, Kendrick Lamar (@kendricklamar), Kendrick
Lamar         –      Not      Like      Us,    YouTube    (July     9,      2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgzEwjZukwgo_GGHnqZ4AaABAg
[https://perma.cc/22TH-TVE6] (emphasis added).
141
    User @JacobChavez-pc2cm, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar
–          Not       Like       Us,      YouTube         (July        7,        2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgyNfScmqWKyAIl9J6F4AaABAg
[https://perma.cc/B9EL-FLRB].
142
   Ace High (@AceHighAlbion), Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar
–          Not       Like      Us,       YouTube         (July       20,         2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgydWMZ9oZUKHgLeirZ4AaABAg
[https://perma.cc/GB25-STV3].
143
    User @MrJoeNobody, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like              Us,          YouTube           (July            5,           2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgyR8Ic30DarlLMQ85d4AaABAg
[https://perma.cc/8GV6-BFUK] (emphasis added).


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                   today.. So When Kendrick says your not a colleague your a colonizer it
                   goes much deeper than rap.. IYKYK;”144

                  “Stopped by Compton’s Tam’s #21 with the homie for some burgers
                   and to call @Drake a jewish pedophile. You know I had to do it to em
                   #NotLikeUs @kendricklamar Kek shoutout Rosecrans;”145 and

                  “BROOOOO, DRAKE IS A COLOLNIZER BECAUSE HE IS
                   JEWISHHHH.”146

       116.    And users again threatened Drake’s safety in comments like: “Drake better come

with secret service-type security if he plans on going through LA. And even then that might not

be enough. They ‘Not Like Us’ [laughing emojis];”147 and “Drake can never go to LA without

secret service level security now.”148

       117.    The spewing of hate against Drake has not been limited to social media. The public

has leveraged multiple other platforms to repeat the lies in the Defamatory Material. For example,

users have edited the address that appears on Google Maps and Apple Maps at Drake’s Toronto

address to read “pedophile lives here” and “he touches little girls.”


144
   User @rogerhines1779, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like              Us,          YouTube            (July            8,            2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgyW_NBCk3_yN75K9Cl4AaABAg
[https://perma.cc/E7VW-C3QU] (emphasis added).
145
      spico blanco 2 electric boogaloo (@Cassius28865223), X (Aug. 4, 2024),
https://x.com/Cassius28865223/status/1820261511685881932 [https://perma.cc/C2NN-WA9B].
146
   User @CamLo-c9t, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,                  YouTube                (July             12,               2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgyJ0puH2rTCo7sfZil4AaABAg
[https://perma.cc/TJ3Z-S2KY] (emphasis added).
147
    User @Thx4everything_117, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar
–          Not        Like      Us,       YouTube         (July        5,        2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=Ugzwae5O4LuQwkI5OJ54AaABAg
[https://perma.cc/8Z4J-L3MP].
148
    User @StacksOfLitty, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like              Us,          YouTube             (July            4,           2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=Ugzx3XCuiNJxajv-ybp4AaABAg
[https://perma.cc/3D8Z-CUBD].


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         118.   In the summer of 2024, users updated the description of Drake’s Toronto address

in rideshare applications Uber and Lyft.               Users have edited the address to read

“DRIZZYTOUCHESKIDS,” “Drizzy’sFunTimeChamber,” and “A MINORRRR.”




         119.   Following the public reaction to the Recording and Image, UMG understood that

this kind of reaction to the Video was likely, if not inevitable.

         UMG PUBLISHED THE DEFAMATORY MATERIAL WITH KNOWLEDGE OF
         OR RECKLESS DISREGARD FOR ITS FALSITY AND KNOWLEDGE THAT IT
              WAS REASONABLY FORESEEABLE TO CAUSE DRAKE HARM

         120.   UMG does not believe now, nor has it ever believed, that Drake is a pedophile, a

sex offender, or otherwise a criminal. Defendant published, republished, and promoted the

Defamatory Material knowing the allegations were not true or, at least, with reckless disregard for

its falsity.

         121.   UMG also published and promoted the false allegations against Drake despite the

inherent improbability of the allegations, reliable contrary information, and awareness that they

were unsupported by any evidence, let alone reliable evidence. Further, UMG published and

promoted the Video, and further republications and licensing of the Recording, with the knowledge



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that millions of people already understood the Recording to assert statements of fact that Drake is

a pedophile, that Lamar had represented he knew of undisclosed facts to support such statements,

and that actual violence had occurred at Drake’s Toronto residence immediately following the

initial publication of the Recording.

          122.   As an initial matter, UMG has a financial interest in knowing any potential

liabilities that Drake had or could have—including criminal charges or convictions. As laid out in

UMG’s Code of Conduct, UMG is “committed to human dignity,” does not tolerate “human rights

abuses such as child labor, slavery, human trafficking and unsafe or unfair work practices at our

operations,” and only conducts “business with partners, suppliers and customers who share our

commitment to protecting human rights.”149 UMG would not have contracted with Drake in the

first instance, nor would it have continued to maintain existing contracts, had it believed at any

relevant time that any of the allegations in the Defamatory Material were true in any respect.

          123.   UMG understands, and as is easily confirmed through basic public records

searches, that Drake had never been charged with, indicted for, or convicted of any charges of

sexual violence or assault, including, but not limited to, sexual violence against a minor.

          124.   Furthermore, UMG has access to Drake and could have asked him directly about

the veracity of the allegations at any point in time.

          125.   UMG also knew or should have known that by publishing the Defamatory Material,

it was gambling with Drake’s safety. Critically, in addition to accusing Drake of being a criminal

pedophile, the Defamatory Material calls for violence against Drake and depicts his Toronto

address. Incidents like 2016’s Pizzagate show how accusing someone of being a pedophile and/or

of committing crimes against children can quickly spin out of control into a viral conspiracy theory


149
      Universal Music Group, Our Code of Conduct, supra note 17, at 12.


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and acts of real physical violence. “Vigilante” actions against suspected pedophiles have notably

increased in the last two years. A New York Times analysis of the phenomenon counted “more

than 170 violent vigilante attacks by pedophile hunters since 2023.”150 UMG directly knows what

harms can arise from such “outrageous allegations” of “criminal activity.”151 UMG and Sir

Grainge were recently accused of aiding and abetting P. Diddy in committing heinous and

widespread acts of sexual violence against minors. UMG and Sir Grainge acted swiftly to refute

these allegations. In a court filing, Sir Grainge stated, “I do not take lightly being falsely and

publicly accused of criminal activity, and as I said, I intend to pursue those who have made these

outrageous allegations against me.”152

            126.   Despite having knowledge of the violence that occurred at Drake’s Toronto

residence, as well as substantial online threats and vitriol directed at Drake, and notwithstanding

having a direct line of communication to Drake, UMG did not discuss the Video with Drake prior

to publishing it.

            127.   Despite having knowledge of nearly all of the harms Drake had suffered as a result

of the publication of the Defamatory Material in the form of a retraction demand Drake sent to

UMG, UMG continued to publish the Defamatory Material to new audiences around the world.




150
    Aric Toler & Neil Bedi, Online ‘Pedophile Hunters’ Are Growing More Violent – and Going
Viral,             N.Y.             Times             (Mar.            26,            2025),
https://www.nytimes.com/interactive/2025/03/26/us/pedophile-hunting-violence.html
[https://web.archive.org/web/20250402151449/https://www.nytimes.com/interactive/2025/03/26/
us/pedophile-hunting-violence.html].
151
      Declaration of Sir Lucian Grainge, supra note 13, at ¶ 15.
152
      Id.


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  UMG ENGAGES IN A PUBLICITY CAMPAIGN TO ENSURE MAXIMUM SPREAD
       OF THE DEFAMATORY MATERIAL AND DECEIVE CONSUMERS

       128.   Since the initial publications on May 4 and July 4, 2024, UMG has utilized every

weapon in its arsenal to ensure that the Defamatory Material spread to the maximum extent

possible around the world.

              A.      UMG Used Social Media to Promote the Defamatory Material and Market
                      the Recording’s “Popularity” to Consumers.

       129.   In the months since the initial publications, and for months after it understood the

harms Drake had suffered as a result of the Defamatory Material, UMG repeatedly posted the

Defamatory Material to its social media accounts, including Interscope and UMPG accounts. As

of the date of this filing, UMG has a social media following of approximately 2.21 million on

YouTube, 997,000 on Instagram, 713,900 on X, and 622,000 on Facebook.153 As of the date of

this filing, Interscope has a social media following of approximately 948,000 on YouTube,

769,000 on Instagram, and 557,000 on Facebook.




153
    These estimated follower totals exclude the social media accounts of related UMG entities,
affiliates, and subsidiaries.


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       130.   On June 9, 2024, Interscope reposted a tweet bragging that “Kendrick Lamar’s ‘Not

Like Us’ becomes the FASTEST rap song to reach 300M Spotify streams” in only “35 days.”154

The post features the Image side by side with a photo of Kendrick Lamar.




154
            Interscope          (@interscope),     X           (June       9,           2024),
https://x.com/Interscope/status/1800258394382614977 [https://perma.cc/4W9P-8N5N].


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       131.    On June 20, 2024, UMG posted a carousel of photos and videos to its official

Instagram account, of Lamar performing the Recording at the “Ken & Friends Pop Out” Juneteenth

concert (the “Pop Out concert”) during which the Recording was played five times back-to-back.

UMG captioned the post, “History was made. [fire emoji] cc: @kendricklamar”155 and tagged

Interscope. While Lamar performed many songs during the concert, UMG purposely chose to

highlight the Recording and to describe it as “historic.”




155
     See Universal Music Group, (@universalmusicgroup), Instagram (June 20, 2024),
https://www.instagram.com/p/C8c2ni6RqtF/?img_index=1 [https://perma.cc/7WUU-WCTG].


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          132.   That same day, UMPG posted videos from the Pop Out concert on its official

Instagram, which has hundreds of thousands of followers,156 Facebook page,157 and TikTok.158

The Facebook post included the main “Not Like Us” refrain from the Recording,159 while the

Instagram and TikTok post published the “A-Minor” portion of the Recording.160 On Instagram,

UMPG captioned the video “THEY NOT LIKE US @KendrickLamar pops out with his debut

performance of ‘Not Like Us’ at his Ken & Friends Pop Out Juneteenth concert in LA.”161

Similarly, on TikTok, UMPG boasted that the “Crowd goes wild for #KendrickLamar’s debut

performance of ‘Not Like Us’ at his Juneteenth ‘Pop Out’ concert at the Kia Forum in Los Angeles,

CA.”162

          133.   Greg Marella, President of Promotion and Executive Vice President of Capital,

another UMG label, promoted the Pop Out concert on his personal Instagram page with the same

photo posted by UMG.163



156
    Universal Music Publishing Group (@umpg), Instagram, https://www.instagram.com/umpg/
(last visited Jan. 14, 2025).
157
     Universal Music Publishing        Group,    Facebook,   https://www.facebook.com/UMPG/
[https://perma.cc/6RYD-J96F].
158
            Universal         Music           Publishing            Group,                TikTok,
https://www.tiktok.com/@universalmusicpublishing [https://perma.cc/EUK7-Y3ND].
159
        Universal  Music      Publishing  Group,      Facebook        (June       20,      2024),
https://www.facebook.com/reel/1033017875019038 (last visited Jan. 14, 2025).
160
      Universal Music Publishing Group (@umpg), Instagram (June 20, 2024),
https://www.instagram.com/p/C8cwMUpvfCH/ [https://perma.cc/6K74-X49H]; Universal Music
Publishing Group, TikTok (June 20, 2024), https://www.tiktok.com/t/ZTNtE5UaY/
[https://perma.cc/KQE2-FCUX].
161
      Universal Music Publishing Group (@umpg), Instagram (June                     20,    2024),
https://www.instagram.com/p/C8cwMUpvfCH/ [https://perma.cc/6K74-X49H].
162
       See   Universal    Music  Publishing      Group,  TikTok   (June            20,     2024),
https://www.tiktok.com/t/ZTNtE5UaY/ [https://perma.cc/KQE2-FCUX].
163
      Greg Marella (@gregmarella), Instagram (June 20, 2024), https://perma.cc/YPL5-HHG9.


                                                55
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       134.    On July 5, 2024, Interscope promoted the Video on its Instagram account.164 The

carousel included images and a short clip of the Video with the caption “Not Like Us. Out Now.”

       135.    On July 8, 2024, UMPG posted a GIF from the Video on its X account encouraging

people to watch the Video: “TELL US: What was your favorite moment from @kendricklamar’s

“Not Like Us” music video? ↳https://youtu.be/H58vbez_m4E.”165

       136.    On July 15, 2024, Interscope reposted two X posts, including one from Complex,

regarding a fan’s creation of a “Not Like Us” video game.166 The posts depict images from the

video game which emulate the scene from the Video in which an owl-shaped piñata is beaten with

a bat and ultimately destroyed. The posts together have 3.5 million views.

       137.    On July 16, 2024, Interscope reposted on X that the Recording had become “the

bestselling rap song of 2024 in the US.”167

       138.    On July 24, 2024, UMG posted on its X account, about the Recording charting as

the “most-streamed song” of the week.168




164
          Interscope      (@interscope),   Instagram        (July       5,     2024),
https://www.instagram.com/p/C9DhFTpS7yG/?img_index=1 [https://perma.cc/H6A2-YE2W].
165
       Universal  Music     Publishing  Group     (@umpg),      X   (July   8,            2024),
https://x.com/UMPG/status/1810426132736438584 [https://perma.cc/CLL2-CWJR].
166
           See       Interscope      (@interscope),     X          (July       15,    2024),
https://x.com/Interscope/status/1813282352694743250           [https://perma.cc/Q4QH-AYY9];
Interscope            (@interscope),          X          (July             15,        2024),
https://x.com/Interscope/status/1813281639277162682 [https://perma.cc/6Q57-F97N].
167
            Interscope         (@interscope),      X          (July       16,             2024),
https://x.com/Interscope/status/1813282022753988707 [https://perma.cc/BB25-S2T9].
168
         Universal    Music      Group    (@umg),         X     (July  24,                2024),
https://x.com/UMG/status/1816159700297343062 [https://perma.cc/MY9M-QVD9].


                                               56
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            139.   On August 29, 2024, UMG posted on X with a link to a Spotify “Summer Hits 2024

playlist” with a caption boasting that the Recording was a “Song of the Summer.”169

            140.   On September 23, 2024, UMG reposted a screenshot of the top 10 songs on the

Billboard Hot 100 for the week of September 28, 2024, which ranked the Recording at

#10.170 UMG commented “8 out of 10 artists on the @billboard #Hot100 are part of the UMG

fam!”171

            141.   On its YouTube Channel, Interscope curates playlists of recommended music

videos for fans. As of the date of this filing, the Video is still featured on the label’s music video

playlist.172




169
         Universal    Music     Group     (@umg),        X       (Aug.     29,                 2024),
https://x.com/UMG/status/1829214002687381505 [https://perma.cc/PJ99-44TD].
170
     UMG (@umg), X (Sept. 23, 2024), https://x.com/UMG/status/1838307348537893293
[https://perma.cc/XD6U-FNR3].
171
      Id.
172
    Interscope Records (@InterscopeGeffenAM), “FEATURED ON INTERSCOPE” Playlist,
YouTube, https://www.youtube.com/playlist?list=PLJzLTReoSNQS698_Vhj1uLLiualhVrg3w
[https://perma.cc/D8VY-TPHG].


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         142.   On November 8, 2024, following an extensive publicity campaign launched and

managed by UMG, the Recording Academy nominated the Recording for several Grammy

Awards, including the top awards for Record of the Year, Song of the Year, Best Rap Performance,

and Best Rap Song, and nominated the Video for Best Music Video.173 At the time it undertook

this promotional campaign on behalf of the Recording, UMG understood that winning any (let

alone many) Grammy Awards would expose the Defamatory Material to new audiences, including

potentially millions of new listeners, around the world, resulting in substantial additional harm to

Drake.

         143.   Following the release of the nominations, Interscope posted on its Instagram

“Congratulations to Kendrick Lamar for his 2025 GRAMMY® Award nominations!,” with an

image listing the Recording’s nominations.174 UMG similarly posted on Instagram, with the

caption “Here are this year’s UMG nominees for SONG OF THE YEAR at the #GRAMMYs:

“Not Like Us” - @kendricklamar.”175 And in a reel, UMG posted a portion of the Video on




173
    Nina Frazier, 2025 GRAMMYs: See The OFFICIAL Full Nominations List, Grammy.com (Nov.
8, 2024), https://www.grammy.com/news/2025-grammys-nominations-full-winners-nominees-
list [https://perma.cc/ME87-NSHZ] (Music producer Dijon Isaiah McFarlane, known
professionally as Mustard, also received a nomination for Producer of the Year, Non-Classical, for
his work on the Recording).
174
         Interscope   Records   (@interscope),      Instagram    (Nov.               8,      2024),
https://www.instagram.com/p/DCIKBoBR9ja/ [https://perma.cc/J5HZ-LAP8].
175
      Universal Music Group (@universalmusicgroup), Instagram (Nov. 8, 2024),
https://www.instagram.com/p/DCHtaKxxtpx/?hl=en&img_index=1  [https://perma.cc/R7UZ-
PZTQ].


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Instagram with the caption “They not like @KendrickLamar! He’s just nabbed 7 #GRAMMY

nominations.”176 UMG posted the same clip on X.177

       144.   In December 2024, UMG again promoted the Defamatory Material’s success on

the radio on social media when it posted on X, “Huge congrats to the UMG fam for landing the

top 4 spots on @Billboard’s 100 Best Songs of 2024 list! [100 emoji] No. 1 @KendrickLamar –

‘Not Like Us.’”178

       145.   And following the Grammys, Interscope and UMG published celebratory posts

about the success of the Recording on Instagram and X.179

       146.   On May 13, 2024, Ramon Alvarez-Smikle, Interscope’s Executive Vice President

and Head of Digital Marketing, reposted an X post from “Billboard Charts” (@billboardcharts)

showing the top ten “Hot 100” songs, among them Lamar’s “Not Like Us,” at first place.180

       147.   In a February 25, 2025 LinkedIn post, Jessica Staats, the Vice President of

International Digital Strategy of Interscope, shared, “Big week for all of us on Team Kendrick!”

and linked to a Billboard report on the Recording’s streaming milestones and placement on the

Billboard Hot 100.181


176
      Universal Music Group (@universalmusicgroup), Instagram (Nov. 8, 2024),
https://www.instagram.com/reel/DCHws9LRKIi/?hl=en [https://perma.cc/657C-D2CD].
177
         Universal    Music      Group     (@umg),        X      (Nov.     8,            2024),
https://x.com/UMG/status/1854958452860223524 [https://perma.cc/6HA2-JTZJ].
178
         Universal    Music     Group     (@umg),         X      (Dec.  26,              2024),
https://x.com/UMG/status/1872338923935944851 [https://perma.cc/97VU-7ELU].
179
         Interscope     Records     (@interscope),  Instagram       (Feb.    3,   2025),
https://www.instagram.com/p/DFmd7r_RYFH/?hl=en; Universal Music Group (@umg), X (Feb.
3, 2025), https://x.com/UMG/status/1886310085934084546 [https://perma.cc/758M-KC93].
180
   Mr. Alvarez-Smikle’s X account, https://x.com/ramonsmikle, has since been set to private. The
reposted message has been preserved offline.
181
   Jessica Staat, Post, LinkedIn (Feb, 25, 2025), https://www.linkedin.com/posts/jessica-staats-
851b877_kendrick-lamars-not-like-us-scores-biggest-activity-7300206172358291458-

                                              59
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               B.     UMG Used its Ownership Interests to Promote the Defamatory Material.

       148.    On information and belief, UMG used its stake in Complex,182 a global youth

entertainment network, to further promote the Defamatory Material. When UMG first acquired

its stake in Complex, Mr. Janick commented that the “partnership will give our artists access to a

dynamic network to deepen connections with superfans through unique collaborations and cultural

moments.”183

       149.    Between May 5, 2024 and the date of this filing, Complex has published at least 70

articles about “Not Like Us” and posted about the Recording hundreds of times across its website

and social media accounts.




eYRv?utm_source=li_share&utm_content=feedcontent&utm_medium=g_dt_web&utm_campai
gn=copy [https://perma.cc/XZR7-2ZLJ].
182
    Press Release, NTWRK Acquires Complex to Build Next Generation Content and Shopping
Experience, Universal Music Grp. (Feb. 21, 2024), https://www.universalmusic.com/ntwrk-
acquires-complex-to-build-next-generation-content-and-shopping-experience/
[https://perma.cc/RWX6-CH2W].
183
   Tim Ingham, Universal Music Group is acquiring a stake in Complex – via a takeover focused
on ‘superfans’ and e-commerce, Music Business Worldwide (Feb. 21, 2024),
https://www.musicbusinessworldwide.com/universal-music-group-acquiring-a-stake-in-
complex-as-part-of-a-takeover-focused-on-superfans-and-e-
commerce/#:~:text=UMG%20will%20become%20a%20strategic,of%20Complex%20and%20its
%20networks
[https://web.archive.org/web/20250417003315/https://www.musicbusinessworldwide.com/unive
rsal-music-group-acquiring-a-stake-in-complex-as-part-of-a-takeover-focused-on-superfans-and-
e-commerce/].


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       150.   On May 4, 2024, Complex tweeted a photo of the Image and described its intended

meaning as follows: “The Cover for ‘Not Like Us’ is Drake’s Toronto Mansion… with sex

offender app markers.”184




       151.   On July 5, Complex published an article titled “Decoding Kendrick Lamar’s ‘Not

Like Us’ Video” and another titled “Every Reference in Kendrick Lamar’s ‘Not Like Us’

Video.”185 The articles describe in detail how the public should understand the allegations

contained within the Defamatory Material.




184
          Complex     Music       (@ComplexMusic),      X     (May       4,      2024),
https://x.com/ComplexMusic/status/1786918037045555626?lang=en [https://perma.cc/4UCU-
88TH].
185
   Hellerbach, supra note 118; Joe Price, Every Reference in Kendrick Lamar’s “Not Like Us”
Video, Complex (July 5, 2024), https://www.complex.com/music/a/backwoodsaltar/every-
reference-not-like-us-video-kendrick-drake [https://perma.cc/W5N4-WRRH].


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       152.    On information and belief, Universal Music also used its ownership interest in Vevo

to over-index the Video on the platform. Put differently, Vevo boosted the visibility of the Video

relative to others in order to disproportionately increase its overall views, engagement, and

performance on charts and at the expense of other artists and music.

               C.      UMG Granted Licenses to Promote the Defamatory Material.

       153.    UMG also used its global publishing division, UMPG, to license the Defamatory

Material for broader use and consumption. Since the Recording’s release, UMPG has listed the

Recording on its website for licensing on television and in film.186




186
    Song Details – Not Like Us by Kendrick Lamar, Universal Music Publishing Group,
https://www.umusicpub.com/us/Digital-Music-Library/song/547780/kendrick-lamar-not-like-us
[https://perma.cc/UDS2-D9J7?type=image]; Kendrick Lamar, Universal Music Publishing Group,
https://www.umusicpub.com/us/Artists/K/Kendrick-Lamar.aspx         [https://perma.cc/VCH4-
84TV?type=image].


                                                62
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       154.       On the UMPG website, third parties seeking to license songs for audiovisual

publications can filter by genre, chart-topping songs, and themed playlists. UMPG markets the

Recording as having a “winning/achievement” “lyrical theme.”

       155.       UMG further promotes the Recording for licensing by listing its success on the

music charts. For example, on UMPG’s website, a third party could search for songs in the Hot

100 Singles.




       156.       UMG also curates themed playlists on UMPG’s website for marketing purposes.

The Recording is currently featured on the “Winner’s Circle” playlist with 29 other songs that can

be licensed.187

       157.       As a result of its marketing efforts, UMG has repeatedly licensed the Recording to

be performed publicly and published on other platforms. For example, on June 19, 2024, the



187
      Winner’s Circle Playlist, Universal Music Publishing Group (Mar. 6, 2025),
https://www.umusicpub.com/us/Digital-Music-Library/playlist/72885/-winners-circle (last
visited Apr. 16, 2025).


                                                  63
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Recording was performed five times in a row at the Pop Out concert in Inglewood, California188

to a crowd of approximately 16,000 attendees189 and a live stream of over 186,000 viewers on

Amazon’s Prime Video and Twitch.190 The livestream broke Amazon Music’s streaming record

for the most minutes watched of any Amazon Music production ever across Prime Video and

Twitch.191 In the three days following the Pop Out concert, Kendrick Lamar received nearly 61

million combined official on-demand U.S. streams.192 The Recording represented approximately

21 million of those combined streams—a 62% increase from the three-day period preceding the

concert.193 This republication on June 19, 2024, and its subsequent republication on streaming

platforms, reached more than 21 million people, and could not have occurred without UMG’s

explicit permission.




188
   Michael Saponara, Kendrick Lamar Performs Drake Diss Track ‘Not Like Us’ 5 Times Back-
to-Back    at     Pop     Out     Concert,    Billboard    News     (June      20,     2024),
https://www.billboard.com/music/rb-hip-hop/kendrick-lamar-performs-not-like-us-five-times-la-
show-1235714258/ [https://perma.cc/D7FL-H9M8].
189
   Taijuan Moorman, Kendrick Lamar performs Drake diss ‘Not Like Us’ 5 times at Juneteenth
‘Pop        Out’        concert,       USA        Today          (June      20,      2024),
https://www.usatoday.com/story/entertainment/music/2024/06/20/kendrick-lamar-concert-pop-
out-ken-and-friends-livestream-juneteenth/74154407007/ [https://perma.cc/Z55R-ZQJR].
190
    Steven J. Horowitz, Kendrick Lamar’s ‘The Pop Out – Ken and Friends’ Concert in Los
Angeles      to   Stream   Live   on    Amazon      Music,   Variety    (June     7,    2024),
https://variety.com/2024/music/news/kendrick-lamar-the-pop-out-ken-and-friends-livestream-
amazon-music-1236029181/ [https://perma.cc/DL6H-TA8U].
191
   Sophie Caraan, Amazon Music Releases Live Performance Video of Kendrick Lamar’s “Not
Like Us”, Hypebeast (June 21, 2024), https://hypebeast.com/2024/6/kendrick-lamar-breaks-
amazon-music-record-not-like-us-live-video-stream [https://perma.cc/8NN7-XDD5].
192
   Andrew Unterberger, Kendrick Lamar, Entire Black Hippy Crew and Mustard & Friends All
Up in Streams After Juneteenth ‘Pop Out’ Concert, Billboard (June 26, 2024),
https://www.billboard.com/music/chart-beat/kendrick-lamar-juneteenth-pop-out-not-like-us-
trenidng-up-1235718243/ [https://perma.cc/M76T-J64J].
193
      Id.


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            158.   UMG subsequently made the live performance of the Recording from the Pop Out

concert available to be played on the radio.194 And radio stations played it.

            159.   UMG has also leveraged its existing licensing agreements with TikTok and Meta

to make the Recording and Video available to users of those platforms.195 As of the date of this

filing, the Recording had been used in over 2.1 million videos on TikTok. More than 170 TikTok

posts using the Recording have been viewed at least 2 million times each, with many being viewed

tens of millions of times.196 In total, 183 popular TikTok posts have been viewed over 2 billion

times.197 And as of the date of this filing, the Recording has been used in over 1 million reels on

Instagram.198

            160.   UMG also granted licenses for the Recording to be played at sporting events, award

shows, and political rallies. The Recording has been played and broadcasted on television during

coverage of games for the MLB, NBA, and WNBA. The Recording also played during the July




194
   Bryson Paul, California Radio Adds Live Version Of “Not Like Us” To Rotation, Hot 97 (July
11, 2024), https://www.hot97.com/news/california-radio-adds-live-version-of-not-like-us-to-
rotation/ [https://perma.cc/PW48-S8DM].
195
    See Etan Vlessing, Meta, Universal Music Group to Allow Users to Share Songs on WhatsApp,
Hollywood Reporter (Aug. 12, 2024), https://www.hollywoodreporter.com/business/business-
news/meta-universal-music-group-whatsapp-songs-1235972143/ [https://perma.cc/87HH-EJH8]
(“As part of the agreement renewal, UMG artists and songwriters will receive a slice of advertising
revenue from the use of licensed music on Meta creator posts.”); Etan Vlessing, Universal Music
Group CEO on New TikTok Deal: ‘Human Artistry Must Be Respected,’ Hollywood Reporter
(May 2, 2024), https://www.hollywoodreporter.com/business/business-news/universal-music-
tiktok-deal-1235888711/ [https://perma.cc/4CQX-VZBT].
196
   See Exhibit B; see also Not Like Us, TikTok, https://www.tiktok.com/music/Not-Like-Us-
7365349431086401552 [https://perma.cc/DQB8-LKP9] (last visited Apr. 16, 2025).
197
      Id.
198
         Reels       Audio        -     Not     Like      Us,        Instagram      Reels,
https://www.instagram.com/reels/audio/1182175136281886/not-like-us/ (last visited Apr. 16,
2025) (page also preserved offline).


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2024 ESPY awards, an annual award ceremony that honors the top athletes and sports

performances of the year.

       161.   During a July 20, 2024 campaign rally for Vice President Kamala Harris in Atlanta,

Georgia, the DJ played the Recording to the live crowd. Video footage showing the crowd singing

along to the lyrics “Certified Lover Boy? Certified pedophiles” and “Tryna strike a chord and

it’s probably A-minor” quickly went viral on social media.199

       162.   The Recording also played during the highly anticipated roll call vote for President

during the Democratic National Convention. The Recording blared in the United Center as

California’s Governor Gavin Newsom cast the state’s delegates.200 The convention was reportedly

viewed by approximately 20 million people across 12 television networks.201

       163.   The Recording also became the postseason anthem for the Los Angeles Dodgers’

playoff run and eventual 2024 World Series victory. The Dodgers had featured the Recording in

a hype video posted to their official YouTube page.202




199
    See Top Christ Following Man of the Year (@santana_abraxas), X (July 30, 2024),
https://x.com/santana_abraxas/status/1818426483586548080 [https://perma.cc/7P4H-VVNZ]
(emphasis added).
200
   C. Mandler, The DNC roll call featured a musical salute to each state. Here’s what your state
chose, NPR (Aug. 21, 2024, 10:06 AM), https://www.npr.org/2024/08/21/g-s1-18188/democratic-
national-convention-roll-call-music-state
[https://web.archive.org/web/20241130003518/https://www.npr.org/2024/08/21/g-s1-
18188/democratic-national-convention-roll-call-music-state]; see also GreatLakesLiberal
(@GreatLakes32nd),                 X              (Aug.                 20,              2024),
https://x.com/GreatLakes32nd/status/1826064516112585093 [https://perma.cc/9Q2V-MBBN].
201
   Selome Hailu, Democratic National Convention Viewership Keeps Steady with 20.2 Million
Viewers on Third Night, Variety (Aug. 21, 2024), https://variety.com/2024/tv/news/dnc-ratings-
viewers-1236112994/ [https://perma.cc/EQH3-4KBU].
202
   See Cole Blake, LA Dodgers Use Kendrick Lamar’s “Not Like Us” As Anthem For Postseason,
Hot New Hip Hop (Oct. 6, 2024), https://www.hotnewhiphop.com/848710-la-dodgers-kendrick-
lamars-not-like-us-anthem-postseason-hip-hop-news [https://perma.cc/D78R-6AKK].


                                               66
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       164.   The Recording and Video were some of the biggest winners of the night at the 2025

Grammy Awards on February 2, 2025. On information and belief, UMG conferred benefits and

leveraged existing business relationships to secure Grammy nominations (and eventually wins) for

the Recording and Video. During the 2025 Grammy Awards, the Recording and Video won all

five categories for which they were nominated: Record of the Year; Song of the Year; Best Rap

Song; Best Music Video; and Best Rap Performance.203 During the ceremony, defamatory

portions of the Recording were played to the live audience and televised to over 15 million

viewers.204 The Recording could not have been played and broadcast during the award ceremony

without UMG’s consent. The original broadcast of the Grammys showed the audience singing

along to the Recording, but in the video of the awards ceremony posted to the Grammys’ YouTube

page, that portion is excluded.205 After the Recording won Record of the Year, Sir Grainge high-


203
    Kaitlyn Huamani, Kendrick Lamar’s ‘Not Like Us’ wins song of the year, record of the year,
L.A. Times (Feb. 2, 2025, 8:33 PM), https://www.latimes.com/entertainment-
arts/music/story/2025-02-02/grammys-2025-kendrick-lamar-not-like-us-wins-controversy
[https://perma.cc/4LMJ-T3MF].
204
    Ethan Shanfeld, Grammys Draw 15.4 Million Viewers on CBS, Down 9% From Last Year,
Variety (Feb. 4, 2025, 8:52 AM), https://variety.com/2025/tv/news/grammys-ratings-2025-
viewers-1236295409/
[https://web.archive.org/web/20250227182602/https://variety.com/2025/tv/news/grammys-
ratings-2025-viewers-1236295409/]. After the Recording won Song of the Year, the Grammys
broadcast played the Recording at 1:15-1:44. Upon the announcement that the Recording won
Record of the Year, the Grammys broadcast played the Recording at 0:31-1:16. Both portions
named Drake and, unlike during the Super Bowl halftime show, the word “pedophile” was not
censored.
205
    Gabriel Bras Nevares, Grammys Deletes Clip Of Crowd Singing Kendrick Lamar’s “Not Like
Us”       Amid     Drake     Lawsuit,     Hot     New     Hip    Hop      (Mar.    7,   2025),
https://www.hotnewhiphop.com/892143-grammys-deletes-clip-crowd-singing-kendrick-lamar-
not-like-us-drake-lawsuit-hip-hop-news#google_vignette         [https://perma.cc/K2CZ-YQXN]
(“Specifically, they deleted the portion in which the venue plays the song and the crowd sings
along from their official YouTube coverage of the night.”); Recording Academy / GRAMMYs,
KENDRICK LAMAR Wins Song Of The Year For “NOT LIKE US” | 2025 GRAMMYs Acceptance
Speech, YouTube (Feb. 2, 2025), https://www.youtube.com/watch?v=PqqAnsm4agc
[https://perma.cc/3TCQ-YEKP] (cutting Diane Ross’s announcement of the winner, Lamar’s walk
to the stage, and the playing of the Recording); Recording Academy / GRAMMYs, KENDRICK

                                              67
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fived and hugged Lamar’s long-time executive producer and musical mentor, Andre Romell

Young, known professionally as Dr. Dre, while the Recording played.206 On the Grammys’

official YouTube page, the clip featuring this high-five does not contain the original audio of the

Recording.207

            165.   Just a week later, on February 9, 2025, UMG facilitated a live performance of the

Recording during the Apple Music Super Bowl LIX Halftime Show in New Orleans (the “Super

Bowl Performance”). On information and belief, UMG conferred financial benefits on the parties

in charge of the Super Bowl Performance and leveraged existing business relationships to secure

the headliner-spot. As of this filing, the Super Bowl Performance is viewable in full on NFL.com

as well as on the NFL’s YouTube account.208

            166.   UMG promoted the Super Bowl Performance on Interscope’s social media,209

including by reposting advertisements by the NFL, Apple Music, and TouchTunes on X.210 On



LAMAR Wins Record Of The Year For “NOT LIKE US” | 2025 GRAMMYs Acceptance Speech,
YouTube        (Feb.   2,      2025),    https://www.youtube.com/watch?v=_HtmXTNn2Rw
[https://perma.cc/2NXL-LP73] (cut from 0:17 to 0:18 removes the playing of the Recording,
skipping from Miley Cyrus’s announcement of the winner to Lamar accepting the award on stage).
206
    Recording Academy / GRAMMYs, DR. DRE Reacts To KENDRICK LAMAR'S WIN At The
2025 GRAMMYs, YouTube (Feb. 2, 2025), https://www.youtube.com/watch?v=OZLxju-WRwE
[https://perma.cc/T92G-X8CC] (Sir Grainge and Dr. Dre high-five at 0:09–0:11 and embrace at
0:32–0:40).
207
      Id.
208
     Kendrick Lamar’s full Apple Music Super Bowl Halftime Show, NFL.com,
https://www.nfl.com/videos/kendrick-lamar-s-full-apple-music-super-bowl-halftime-show
[https://perma.cc/M27Q-5GR9] (last visited Apr. 16, 2025); NFL (@NFL), Kendrick Lamar's
Apple      Music       Super     Bowl     Halftime   Show, YouTube      (Feb.    9,   2025),
https://www.youtube.com/watch?v=KDorKy-13ak [https://perma.cc/2G7L-ZVNF]. As of the
date of this filing, the post has 119,381,000 views.
209
        Interscope    Records     (@interscope),    Instagram              (Jan.     23,     2025),
https://www.instagram.com/reel/DFLtJnBRfW3/ (preserved offline).
210
            Interscope         (@Interscope),      X                (Jan.         23,        2025),
https://x.com/Interscope/status/1882574353688342559                  [https://perma.cc/4J45-QWBG]

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TikTok, UMG posted “Kendrick Lamar Super Bowl LIX” with the Recording playing and the

caption added, “February 2025 with the [goat emoji]!! #AppleMusicHalftime #KendrickLamar

#SBLIX #NotLikeUs #SuperBowl.”211

       167.    The version of the Recording performed during the Super Bowl Performance was

modified to exclude the word “pedophile,” but no other modifications were made. On information

and belief, Kendrick Lamar would not have been permitted to perform during the Super Bowl

Performance unless the word “pedophile” (in the phrase “certified pedophiles”) was omitted from

the lyrics—that is because nearly everyone understands that it is defamatory to falsely brand

someone a “certified pedophile.” On information and belief, the NFL, as well as the corporate

entities responsible for the televised and streaming broadcasts of the Super Bowl Performance, all

understood the words “certified pedophile” to be unacceptable in a broadcast to millions of

listeners. Notwithstanding that apparent consensus, UMG continues to publish the Recording

absent the censoring that even Kendrick Lamar deemed acceptable for the Super Bowl

Performance.

       168.    The Super Bowl Performance, broadcast by Fox, was the most-watched Super Bowl

Halftime Show of all time, with over 133.5 million viewers tuning in—more people than watched


(reposting Apple Music (@AppleMusic)); Interscope (@Interscope), X (Feb. 6, 2025),
https://x.com/Interscope/status/1887712265375252894            [https://perma.cc/CF9X-ADSL]
(reposting Apple Music (@AppleMusic)); Interscope (@Interscope), X (Feb. 7, 2025),
https://x.com/Interscope/status/1887954245028299000 [https://perma.cc/7B3D-V6UJ] (reposting
NFL         (@NFL));       Interscope     (@Interscope),      X        (Feb.     7,    2025),
https://x.com/Interscope/status/1888055905616302273            [https://perma.cc/8N9F-GK8H]
(reposting TouchTunes (@TouchTunes)); Interscope (@Interscope), X (Feb. 9, 2025),
https://x.com/Interscope/status/1888727714351263953           [https://perma.cc/T3MQ-DZPM]
(reposting NFL (@NFL)); Universal Music Group (@UMG), X (Oct. 22, 2024, 5:00 PM),
https://x.com/UMG/status/1848831698152108331 [https://perma.cc/KYE4-A4P8].
211
        Universal    Music   (@universalmusicgroup),    TikTok    (Sept.             9,    2024),
https://www.tiktok.com/@universalmusicgroup/video/7412704939736190238
[https://perma.cc/ELZ8-CMUD].


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the game itself.212 According to an NFL post on X, the Super Bowl Performance online obtained:

810 million “impressions” and more than 3.65 billion “total global views,” including over 1.7

billion views from user-generated content;213 over 100 million views on the @NFL TikTok

account; the #1 rank of “most socially consumed” Apple Music Halftime Show” for the NFL; 5.7

million mentions on social media; the #1 rank for most-watched YouTube video in 28 countries;

the #1 rank on YouTube’s “Top Trending” chart; and 50 million views on YouTube in the first 72

hours of publication.214 Clips of the Super Bowl Performance in which Drake is referenced by

name went viral as well, with three TikTok posts from the NFL’s account amassing a total of 188.3




212
   Heran Mamo, Kendrick Lamar’s 2025 Super Bowl Halftime Show Is Now the Most-Watched of
All Time, Billboard (Feb. 11, 2025), https://www.billboard.com/music/rb-hip-hop/kendrick-lamar-
2025-super-bowl-halftime-show-most-watched-all-time-1235899552/
[https://web.archive.org/web/20250228100907/https://www.billboard.com/music/rb-hip-
hop/kendrick-lamar-2025-super-bowl-halftime-show-most-watched-all-time-1235899552/].
213
   The image of Lamar looking directly at the camera when he named Drake and stated that Drake
“likes ’em young” during the Super Bowl Performance became a viral meme. See Cory Woodroof,
Kendrick Lamar smiling into the Super Bowl camera while saying Drake’s name turned into a
meme, USA Today (Feb. 9, 2025, 9:25 PM), https://ftw.usatoday.com/story/entertainment/pop-
culture/2025/02/09/kendrick-lamar-smiling-into-camera-drake-name-meme/78378885007/
[https://web.archive.org/web/20250323044815/https://ftw.usatoday.com/story/entertainment/pop
-culture/2025/02/09/kendrick-lamar-smiling-into-camera-drake-name-meme/78378885007/].
In one instance, CBS Sports aired a reference to the meme during its March Madness coverage of
Drake       University.      See Coach        $$$      (@_BushaT),        X     (Mar.      20,
2025), https://x.com/_BushaT/status/1902869130576814189 [https://perma.cc/ZPU9-UCLL].
214
     NFL (@NFL), X (Mar. 20, 2025), https://x.com/NFL/status/1902778413469081640
[https://perma.cc/7BPM-HCX4].


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million views.215 Apple Music, sponsor of the Super Bowl Performance, posted “They not like

us” 48 times in an X post shortly following the Super Bowl Performance.216

       169.    UMG sought out, negotiated for, greenlit, and promoted the Super Bowl

Performance after the filing of this Complaint and after months of notice that the allegations in the

Defamatory Material were false, that they were being believed as true by the public, and that they

were causing harm to Drake.

       170.    The agreement to censor the word “pedophile” failed to cure the Super Bowl

Performance of conveying the Recording’s central defamatory meaning. Instead, the Super Bowl

Performance further solidified the public’s belief in the truth of the allegations against Drake:

                  “how many people in the world didn’t know Drake was credibly
                   accused of being a pedophile and now know;”217




215
      NFL (@nfl), TikTok (Feb. 9, 2025), https://www.tiktok.com/t/ZT2xoPk6u/
[https://perma.cc/XKG2-CAVL] (55 million views); NFL (@nfl), TikTok (Feb. 9, 2025),
https://www.tiktok.com/t/ZT2xoC52T/ [https://perma.cc/6N2M-23R4] (100 million views); NFL
(@nfl), TikTok (Feb. 9, 2025), https://www.tiktok.com/t/ZT2xokxU9/ [https://perma.cc/P623-
2P9X] (33.3 million views).
216
           Apple     Music         (@AppleMusic),      X        (Feb.       9,    2025),
https://x.com/AppleMusic/status/1888764039804727557 [https://perma.cc/P663-66WG].
217
           Davis    Mattek         (@DavisMattek),      X        (Feb.     9,      2025),
https://x.com/DavisMattek/status/1888765439431303325 [https://perma.cc/V9FV-YH5K].


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                 “Kendrick just COOKED @Drake in front of the whole world and
                  anybody who didn’t know that Drake is a CERTIFIED
                  PEDOPHILE is probably now on google trying to understand why
                  @kendricklamar said he likes em young [laughing emoji]
                  #DrakeIsAPedophile;”218 and

                 “Last night before tens of millions, Kendrick Lamar lambasted
                  pedophiles and called them all out in Hollywood[.] Love him or hate
                  him. His message was unity. Rap may not be a favorable music genre
                  for many but his message shredded pedophiles like Drake and more
                  importantly excoriated “Puff” Diddy and Epstein, guilty of—child sex
                  trafficking.”219

       171.   The Super Bowl Performance revitalized the public’s attention to the allegations

against Drake. Once again members of the public renewed their outrage about Drake being a

“known” pedophile:

                 “THEY SHOULD START AN INVESTIGATION ON DRAKE ?!!!!!
                  LOOK HOW DIDDY AND JEFFREY EPSTEIN TURNED OUT;”220

                 “But seriously tho is anyone actually going to investigate Drake?;”221




218
     Nosey Heaux Live #SurvivingThePettys (@noseyheauxlive), X (Feb. 9, 2025),
https://x.com/noseyheauxlive/status/1888767265132208326 [https://perma.cc/NV96-NBPG].
219
           It’s    Tiff     (@TiffMoodNukes),       X               (Feb,.      10,     2025),
https://x.com/TiffMoodNukes/status/1888969405280981466          [https://perma.cc/VFZ6-BQWQ]
(emphasis added).
220
   User @josieperez5567, Comment, NFL (@NFL), Kendrick Lamar’s Apple Music Super Bowl
Halftime Show, YouTube (Feb. 10, 2025), https://www.youtube.com/watch?v=KDorKy-
13ak&lc=UgzJcaYksb-86HSwjrJ4AaABAg [https://perma.cc/RU8U-UTE7].
221
   User @RIPdixiecarter, Comment, NFL (@NFL), Kendrick Lamar’s Apple Music Super Bowl
Halftime Show, YouTube (Feb. 10, 2025), https://www.youtube.com/watch?v=KDorKy-
13ak&lc=UgwZjNcAeRtWma3BRJh4AaABAg [https://perma.cc/74NM-G2RN].


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                 Users again compared the allegations in the Defamatory Material to the
                  actions of Epstein,222 Weinstein,223 and Diddy;224 and

                 Others called on Drake to commit suicide.225


222
        See,   e.g.,   hardy     boyz\     (@shawnmedesfan69),      X    (Feb.    20,      225),
https://x.com/shawnmedesfan69/status/1892696929877794817 [https://perma.cc/DSL2-SK4U]
(“Drake is a jew from the suburbs of Toronto. End of discussion. ‘Real niggas’ dont have bar
mitzvahs. & real niggas definitely dont deal with underage girls. He has more in common with
Epstein than any ‘real nigga’ on the planet [shrug emoji]”); User @HiHi-mh1lu, Comment, NFL
(@NFL), Kendrick Lamar’s Apple Music Super Bowl Halftime Show, YouTube (Feb. 11, 2025),
https://www.youtube.com/watch?v=KDorKy-13ak&lc=UgwBKfBp8lYoEguEsBR4AaABAg
[https://perma.cc/H6EF-UAKT] (“Drake needs to go hide at Epsteins island for the rest of his life
now!! [laughing emoji]”).
223
   See, e.g., User @tiararoxeanne1318, Comment, NFL (@NFL), Kendrick Lamar’s Apple Music
Super         Bowl       Halftime       Show,     YouTube        (Feb.        10,      2025),
https://www.youtube.com/watch?v=KDorKy-
13ak&lc=Ugwg3awGdmEMxu94BTZ4AaABAg.AEMbTK7A1L0AEMsN10nE0B
[https://perma.cc/P675-LAZT] (“Drake dug his own grave by dating those underage girls. I hope
people made songs about other predators like Harvey Weinstein, R Kelly, Bill Cosby, P. Diddy,
etc. They are deserved to be humiliated.”).
224
    See, e.g., User @stephanieworkman8808, Comment, NFL (@NFL), Kendrick Lamar’s Apple
Music       Super      Bowl     Halftime   Show,      YouTube       (Feb.     11,     2025),
https://www.youtube.com/watch?v=KDorKy-13ak&lc=Ugxt0CanFKEsuNugHCh4AaABAg
[https://perma.cc/K5LG-KDAX] (“Drake is gonna be sitting next to Diddy”); User @cccgnosis7,
Comment, NFL (@NFL), Kendrick Lamar’s Apple Music Super Bowl Halftime Show, YouTube
(Feb.              11,          2025),         https://www.youtube.com/watch?v=KDorKy-
13ak&lc=UgyOx6Fl3EHiAos9Ygt4AaABAg [https://perma.cc/N52M-Y3AN] (“The new P
Diddy [eyes emoji]”); User @Y2kALEX94, Comment, NFL (@NFL), Kendrick Lamar’s Apple
Music       Super      Bowl     Halftime   Show,      YouTube       (Feb.     10,     2025),
https://www.youtube.com/watch?v=KDorKy-13ak&lc=Ugz77Ad_YCxULLS93n14AaABAg
[https://perma.cc/4H2F-CCV9] (“Drake can’t show his face anymore he is the new diddy”).
225
       See, e.g., BEAUTIFUL SPUR (@E4RTHG6NG), X (Feb. 9, 2025),
https://x.com/E4RTHG6NG/status/1888767254445088925 [https://perma.cc/Q5Q6-RMF3] (“the
whole stadium saying ‘a minor’ is crazy, DRAKE KILL YOURSELF”); hero
(@1thousandfaces_),                  X                (Feb.                9,              2025),
https://x.com/1thousandfaces_/status/1888764684263997756           [https://perma.cc/CPF2-JKQF]
(“SAY DRAKE I HEARD YOU LIKE EM YOUNG!!!! with the most evil grin imaginable oh
that pedo is killing himself”); Ellie MYF (@lightningdallon), X (Feb. 9, 2025),
https://x.com/lightningdallon/status/1888765117317177828 [https://perma.cc/G6AV-LV6J] (“an
entire super bowl crowd yelling ‘certified pedophile’ and ‘probably a minor’ so loud you can hear
it through the screen after hearing the entire grammy’s sing it not even a week prior oh drake is
going      to    kill     himself”);     Jay     (@_woodstein),      X      (Feb.    9,    2025),
https://x.com/_woodstein/status/1888765133998248418 [https://perma.cc/7PAW-PNNY] (“The

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               D.      UMG Promoted the Defamatory Material Through Covert Means to
                       Deceive Consumers.

       172.    In addition to publishing, marketing, and licensing the Defamatory Material, on

information and belief, UMG also put a thumb on the scale by providing covert financial incentives

to third parties to further spread the lies against Drake.

       173.    On information and belief, UMG, directly or indirectly through its agents and

making use of UMG resources, conspired with, paid, or caused payments to be made to unknown

third parties to use “bots” to artificially inflate the spread of the Recording on Spotify. At

minimum, UMG was aware that third parties were using bots to stream the Recording and turned

a blind eye, despite having the power to stop such behavior. Bots are software programs designed

to mimic human behavior to appear to be real social media accounts. The desire to jumpstart the

Recording’s popularity is unsurprising because streams beget more streams. Songs identified as

top-streamers land on “most popular” lists and playlists, which leads to more streams (and

therefore more licensing requests, more purchases, more partnerships, and ultimately, more

money).

       174.    “Fake” streams are a well-known problem across the music industry. In 2023, The

Financial Times reported that experts estimated that as much as 10 percent of all music streams

are “fake” or derived from bots and streaming farms,226 where devices run services like Spotify

and other streaming platforms on loop.227 Universal Music, Spotify, and Apple Music, among



whole crowd singing a minor is actual crazy work I would kill myself immediately if I was
Drake”).
226
   For a video of what a streaming farm allegedly looks like, see Now This, TikTok (Apr. 5, 2024),
https://www.tiktok.com/@nowthis/video/7354493993964539178 [https://perma.cc/5FV9-F5Z9].
227
   Anna Nicolaou, The incredible resilience of the music industry, Financial Times (Sept. 8, 2023),
https://www.ft.com/content/b85ab5af-bd03-4da8-971a-316e7c7897dc [https://perma.cc/S6LP-
R223].


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others, participated in a study at the request of the French parliament, which found that between 1

billion and 3 billion fake streams took place on popular music platforms in 2021.228

       175.    Publicly, Spotify has stated that it is aware of the issue of bots on its platform and

is actively working to address it. In response to Drake’s pre-litigation filing in New York state

court, Spotify explained that it “invests heavily in automated and manual reviews to prevent,

detect, and mitigate the impact of artificial streaming on its platform.”229 Recently, Chart Data,

which reports on music news, reported that Spotify has been removing botted streams from its

platform over the last several months.230

       176.    In June 2024, one podcast host stated, “Not only do I not care that he [Kendrick

Lamar] used bots, but I knew he did.”231 In a podcast clip posted to his YouTube channel on June

23, 2024, he continued, “Ya’ll didn’t know that Kendrick used bots? You thought that this was



228
    Study: Stream Manipulation, at 46, Ctr. Natl De La Musique (2021), https://cnm.fr/wp-
content/uploads/2023/01/2023_-CNM-_Manipulation-des-streams_ENG.pdf
[https://perma.cc/B8WH-7GCR]; see also Morgan Meaker, One Man’s Army of Streaming Bots
Reveals      a     Whole      Industry’s   Problem,     Wired     (Mar.      21,    2024),
https://www.wired.com/story/streaming-bots-spotify/
[https://web.archive.org/web/20250114134159/https://www.wired.com/story/streaming-bots-
spotify/].
229
    See Spotify USA, Inc.’s Memorandum of Law in Opposition to Verified Petition at 5 n.5, In
the Matter of the Application of, FROZEN MOMENTS, LLC et al., Docket No. 161023/2024 (N.Y.
Sup. Ct. Dec. 20, 2024). Spotify represented that it “found no evidence to substantiate” that bots
streamed the Recording 30 million times in the days after initial publication.
230
    See Gabriel Bras Nevares, Spotify Cracks Down On Botted Streams But Won't Reveal Which
Artists They Punished, Hot New Hip Hop (Apr. 4, 2025), https://www.hotnewhiphop.com/899717-
spotify-botted-streams-wont-reveal-artists-punished-music-news
[https://web.archive.org/web/20250416164117/https://www.hotnewhiphop.com/899717-spotify-
botted-streams-wont-reveal-artists-punished-music-news] (“According to chart data, [Spotify]
removed ‘notable streaming volume’ from songs across all genres for the third month in a row, a
consistent practice they began this February.”).
231
    Joe Budden TV (@joebuddentv), Joe Budden Doesn’t Care That Kendrick Lamar Used Bots
for      ‘Not   Like    Us’,    at    2:08–2:40,    YouTube      (June    23,    2024),
https://www.youtube.com/watch?v=3B8Smb3nJrc [https://perma.cc/XFC6-CLJD].


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just the first time miraculously that a Drake record ever had more dislikes than likes? Or you

‘didn’t know’ that that was bots. Bots to me was a part of how you win the war versus Drake.”

       177.    Other users online exposed the “marketing” of the Recording through bots and

payments to influencers following Plaintiff’s pre-action filings in New York and Texas state

courts. In subsequently deleted posts on November 24, 2025, a social media user claimed to have

knowledge of paid promotion of the Recording. In response to a comment on X that “Kendrick

was buying promo,” the user responded, “Was?” The user continued that there was a “slow ass

digital marketer paying to clown the suit” and that UMG would “push blame” to the digital

marketer “once the suit takes place” after “let[ting] the paid promo fly for months lol[.]” In other

deleted posts, the user claimed that “paid promo for pushing the lawsuit [Drake’s lawsuit against

UMG]” was “already happening” and that the alleged digital marketer “is psychotic.”

       178.    Another social media user posted a video on X, claiming to demonstrate how to use

a bot streamer for songs hosted on Spotify. In the post, the user claimed “[t]his is the Streaming

Bot that UMG and Kendrick Lamar use to boost Not Like Us streams in the beef with Drake” and

“I use to be a stream farmer but I’ve since retired.”232

       179.    On information and belief, UMG also provided financial incentives to streaming

platforms to promote the Recording, including by charging Spotify lower than usual licensing rates

for the Recording in exchange for Spotify affirmatively recommending the Recording to users who

are searching for other unrelated songs and artists.233



232
          Poetik     Flakko        (@FlakkoPoetik),     X        (Nov.     25,      2024),
https://x.com/FlakkoPoetik/status/1861208821302952313 [https://perma.cc/VK7G-3RL8].
233
    Spotify has denied that UMG charged Spotify “licensing rates 30 percent lower than its usual
licensing rates,” but has not made any public statements regarding the veracity of allegations that
UMG charged Spotify licensing rates at some other lower percentage or conferred financial
benefits through some other mechanism. See Spotify USA, Inc.’s Memorandum of Law in

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            180.   Third parties have documented strange recommendations in searches on Spotify.

On July 3, 2024, a user posted a video on X of a man typing “Eminem” into Spotify’s search

engine and the Recording appearing as a suggested search result.234 The user captioned the post,

“It doesn’t matter what you search on Spotify you’ll see ‘Not Like Us’ pop up. Spotify picked

their side, and their algorithm is proof.”235 Other users described similar experiences.236 And

since the initiation of this lawsuit, some Spotify users have raised concerns about the Recording

appearing in results when searching for new releases by Drake or for other artists.237 Relatedly, in

the days following the release of Drake’s new album “Some Sexy Songs 4 U” on February 14,

2025, some users reported not being able to find the new release when searching on Spotify.238

            181.   Recommended songs, search results, and promoted playlists play a role in

determining which music users will be exposed to and ultimately consume. An article discussing

the harms of payola on music consumers describes that by including songs in suggested playlists,

Spotify and other streaming services “represent to the listening public that the song has been




Opposition to Verified Petition, In the Matter of the Application of, FROZEN MOMENTS, LLC et
al., Docket No. 161023/2024 (N.Y. Sup. Ct. Dec. 20, 2024).
234
            Keep6ixsolid        (@keep6ixsolid),      X          (July     3,       2024),
https://x.com/keep6ixsolid/status/1808529064673837434 [https://perma.cc/N4GE-NKJC].
235
      Id.
236
            Dom         (@Underrated_Dom),        X       (July         3,        2024),
https://x.com/Underrated_Dom/status/1808662039352783355?mx=2    [https://perma.cc/4CJV-
Y6LD].
237
         See,   e.g., Members       (@OVOmembers),        X      (Feb.    15,   2025),
https://x.com/OVOmembers/status/1890773161873961078 [https://perma.cc/4XZ4-66GQ].
238
         See,     e.g.,     Badnis     (@coolmike00),      X       (Feb.   15,    2025)
https://x.com/coolmike00/status/1890854402090492324 [https://perma.cc/XQ9G-VKLR].


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chosen because it is uniquely aligned to that listener’s tastes or the playlist mood, and that the

expert curator has judged the song to possess artistic excellence.”239

            182.   On information and belief, UMG employed a similar scheme by paying social

media influencers to promote and endorse the Recording and Video. As just one example, Plaintiff

understands that UMG paid, directly or indirectly, the popular NFR Podcast to promote the

Recording and Video without disclosing the payment. As part of its deal with UMG, the NFR

Podcast publicly published podcast episodes, tweets, and other content about the Recording.

            183.   On information and belief, UMG caused Apple Inc. to have its voice-activated

digital assistant “Siri” purposely misdirect users requesting other songs to instead stream the

Recording.240 Online sources reported that when users asked Siri to play the album “Certified

Loverboy” by Drake, Siri instead played the Recording.241

            184.   On information and belief, UMG also offered financial incentives, including direct

payments and reduced licensing rates, to various third parties to promote the Recording on the

radio. These financial benefits were never disclosed to consumers. According to confidential

sources made known to Drake, certain UMG labels have engaged in pay-for-play arrangements

with radio and streaming services to boost the popularity of specific songs.




239
   Kasi Wautlet, Playlists As Endorsements: An Argument for Continued Payola Regulation in
the Internet Age, 76 N.Y.U. ANN. SURV. AM. L. 821, 862 (2021); see also Christine Smith Burton,
‘Playola’ and Fraud on Digital Music Platforms: Why Legislative Action is Required to Save the
Music Streaming Market, 16 J. Bus. & Tech. L. 387, 390–92 (2021).
240
   See Armon Sadler, Fans Discover Siri Plays Kendrick Lamar’s “Not Like Us” On Spotify When
They Ask For Drake’s ‘Certified Lover Boy’, VIBE (July 11, 2024),
https://www.vibe.com/news/entertainment/siri-not-like-us-spotify-certified-lover-boy-
1234895147/ [https://perma.cc/N9Y7-G5BA].
241
      Id.


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       185.    Drake has also received information that UMG engaged in a classic pay-for-play

scheme by paying to increase the air play of the Recording on the radio, including radio stations

in New York. Specifically, Drake has received information that at least one member of UMG’s

radio promotion team made payments to an independent radio promotor who agreed to transfer

those payments to radio stations and/or radio station employees in exchange for those radio stations

playing the Recording. On information and belief, this practice was more widespread than one

member of the UMG radio promotion team. This “pay to play” practice, known as “payola,” is

prohibited by the Communications Act of 1934 (see 47 U.S.C. §§ 317, 508), and has been the

subject of regulatory scrutiny by a number of Executive agencies.242

       186.    In 2006, UMG agreed to pay $12 million in a settlement with the New York

Attorney General following an investigation involving accusations that UMG executives had used

a broad array of “pay for play” tactics to secure radio airplay for music.243 In connection with

UMG’s settlement, the then-New York Attorney General explained, “Consumers have a right not

to be misled about the way in which the music they hear on the radio is selected.”244 He continued:


242
    Payola in the music industry remains a top priority for the federal government. For example,
in January 2020, the Federal Communications Commission sent a letter to three music companies,
including Universal Music Group, seeking prompt information regarding each company’s
practices to prevent payola, any payola violations, and arrangements for promoting music on the
radio. Letter from Comm’r of Fed. Comm. Comm’n to Sony Music Ent., Warner Music Grp. &
Universal Music Grp. (Jan. 16, 2020), https://docs.fcc.gov/public/attachments/DOC-
361998A1.pdf
[https://web.archive.org/web/20250215152141/https://docs.fcc.gov/public/attachments/DOC-
361998A1.pdf].
243
    Jeff Leeds, Universal Music Settles Big Payola Case, N.Y. Times (May 12, 2006),
https://www.nytimes.com/2006/05/12/business/12payola.html?smid=url-share
[https://web.archive.org/web/20240131004539/https://www.nytimes.com/2006/05/12/business/1
2payola.html].
244
     Universal Music Group settles payola case, NBC News (May 11, 2006),
https://www.nbcnews.com/id/wbna12740147
[https://web.archive.org/web/20220501154735/https://www.nbcnews.com/id/wbna12740147].


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“Pay-for-play makes a mockery of claims that only the ‘best’ or ‘most popular’ music is

broadcast.”245 Separately, in 2005, UMG was sued by two radio promotion companies alleging

fraudulent pay-for-play practices.246

            187.   It remains an open secret within the music industry that power players, like UMG,

are continuing to engage in payola. In November 2024, New York radio deejay FunkMaster Flex

released an alleged pricelist for payola on radio stations: $350,000 for pop radio, $250,000 for

“urban” radio, $100,000 for a mix show, and $3,000 to $5,000 per song for local DJs.247 Other

whistleblowers in the music industry have similarly confirmed the use of widespread payola, with

some claiming to have proof.

            188.   In February of this year, the Federal Communications Commission (“FCC”)

released an enforcement advisory regarding “covert manipulation” of airplay on radio stations248

following congressional interest in an alleged scheme of payola violations.249 Later that month,


245
      Id.
246
   UMG Sued For Fraud, Pollstar (Apr. 28, 2005), https://news.pollstar.com/2005/04/28/umg-
sued-for-fraud/ [https://perma.cc/6QH7-T8K2].
247
          Funk      Flex       !!!!!     (@funkflex),     X      (Nov.       26,  2024),
https://x.com/funkflex/status/1861538244279836877 [https://perma.cc/EMM7-4LDT]; Demicia
Inman, Funkmaster Flex Claims “Drake Is 100% Right” About Payola Following Accusations
Against          UMG,           Spotify,       VIBE         (Nov.         27,     2024),
https://www.vibe.com/news/entertainment/funkmaster-flex-drake-right-about-payola-
1234954728/ [https://perma.cc/V7AP-Q76N].
248
    Covert Manipulation of Radio Airplay Based on Artist Participation in Promotions or Event
Violates FCC Payola Rules, FCC Enforcement Advisory, DA 25-104 (2025),
https://docs.fcc.gov/public/attachments/DA-25-104A1.pdf
[https://web.archive.org/web/20250401024628/https://docs.fcc.gov/public/attachments/DA-25-
104A1.pdf].
249
   Letter from Marsha Blackburn, U.S. Senator, to Brendan Carr, Chairman, FCC (Jan. 30, 2025),
https://www.blackburn.senate.gov/services/files/76DB8D6E-EF84-4C26-BA17-
B5194048D1DD
[https://web.archive.org/web/20250308221215/https://www.blackburn.senate.gov/services/files/
76DB8D6E-EF84-4C26-BA17-B5194048D1DD].


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the FCC sent iHeartMedia, Inc., a mass media company and owner of the iHeartRadio network, a

demand for information about iHeart’s compliance with federal payola laws.250 In the aftermath

of the these FCC actions, certain commentators have speculated as to whether Spotify’s

promotional practices will face similar regulatory scrutiny.251

               E.      UMG Took Other Unprecedented Steps to Promote the Defamatory
                       Material.

       189.    On May 4, 2024, UMG removed the Recording’s copyright restrictions on

YouTube and Twitch, thereby “whitelisting” the Recording.252 On information and belief, this

action was directed by Interscope’s Executive Vice President and Head of Digital Marketing

Ramon Alvarez-Smikle. This whitelisting was done purposely and with the full knowledge of

UMG for the purpose of spreading the Recording, and its defamatory content, as broadly as

possible and as quickly as possible.




250
    Letter from Brendan Carr, Chairman, FCC, to Robert Pittman, Chairman and CEO,
iHeartMedia, Inc. (Feb. 24, 2025), https://docs.fcc.gov/public/attachments/DOC-409718A1.pdf
[https://web.archive.org/web/20250313061623/https://docs.fcc.gov/public/attachments/DOC-
409718A1.pdf].
251
    Chris Castle, FCC investigates iHeart for Payola. Is Spotify next?, Hypebot (Fe. 27, 2025),
https://www.hypebot.com/hypebot/2025/02/fcc-investigates-iheart-for-payola-is-spotify-
next.html
[https://web.archive.org/web/20250316021409/https://www.hypebot.com/hypebot/2025/02/fcc-
investigates-iheart-for-payola-is-spotify-next.html] (originally published as Chris Castle, iHeart
Being Investigated for Payola: “That’s a nice rekud ya got thea, be a shame if sumpin happened
to it…” Is Spotify next?, Music Technology Policy (Feb. 26, 2025),
https://musictechpolicy.com/2025/02/26/iheart-being-investigated-for-payola-thats-a-nice-rekud-
ya-got-thea-be-a-shame-if-sumpin-happened-to-it-is-spotify-next/).
252
    Lavender Alexandria, Kendrick Lamar Praised for Dropping Copyright Claims on Creators
Discussing    His    New      Songs,   Hot    New      Hip   Hop     (May     8,   2024),
https://www.hotnewhiphop.com/798941-kendrick-lamar-cupyright-claims-removed-hip-hop-
news [https://web.archive.org/web/20240720095554/https://www.hotnewhiphop.com/798941-
kendrick-lamar-cupyright-claims-removed-hip-hop-news].


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       190.    UMG has a formal ban on whitelisting and had never before whitelisted a song on

any platform, to Plaintiff’s knowledge. In and around June 2024, UMG reinstituted the copyright

restrictions on the Recording.

       191.    The effect of whitelisting the Recording was massive and immediate. Able to play

the Recording in full in their own videos and to profit from them, content creators rushed to

republish the Recording in “reaction-videos.” As just a few examples:

                  The CartierFamily, whose YouTube channel has 1.51 million subscribers,
                   posted a video depicting the Image and using the Recording.253 As of the date
                   of this filing, the video has 2.4 million views.




                  Twitch streamer No Life Shaq posted a 14.5-minute clip of his reaction to the
                   Recording on his YouTube channel, which has 4.84 million subscribers.254 As
                   of the date of this filing, the video has 5.9 million views.

                  Youtuber Zias! posted a 15-minute video of his reaction to the Recording on
                   his YouTube channel, which has 5 million subscribers.255 As of the date of this
                   filing, the video has 7.5 million views.




253
     CartierFamily (@TheOfficialCartierFamily), KENDRICK LAMAR - Not Like Us
(REACTION!!!), YouTube (May 4, 2024), https://www.youtube.com/watch?v=6rsjobIbCtM
[https://perma.cc/ESL8-LPYV].
254
    No Life Shaq (@NoLifeShaq), HE MADE A CLUB BANGER DISSTRACK! | KENDRICK
LAMAR       -   Not    Like   Us   (REACTION!!!),     YouTube    (May   4, 2024),
https://www.youtube.com/watch?v=Nyk1cTp7YUw [https://perma.cc/R6VL-A5UY].
255
   ZIAS! (@zias7937), KENDRICK LAMAR - NOT LIKE US REACTION, YouTube (May 5,
2024), https://www.youtube.com/watch?v=gNBE0Mcsp9k [https://perma.cc/JZ77-6KHZ].


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                    On May 5, 2024, Twitch streamer RDC Gaming posted his reaction by
                     depicting the Image and using the Recording.256 As of the date of this filing,
                     the video has over 5 million views.




                    Twitch streamer Kai Cenat posted a 20-minute video of his reaction to the
                     Recording on his YouTube channel, which has 12.5 million subscribers.257 The
                     video’s thumbnail depicts the Image. As of the date of this filing, the video has
                     over 10 million views.




          192.   These content creators could not have legally republished the Defamatory Material

in full or profited from their reaction videos without UMG first whitelisting the Recording. Within

days of UMG whitelisting the Recording, content-creators were thanking Lamar for lifting the

copyright restrictions.258




256
   RDC Live (@RDCLive1), RDC Reacts to Kendrick Lamar - Not Like Us, YouTube (May 5,
2024), https://www.youtube.com/watch?v=0Kb4xLyPYgw [https://perma.cc/8LAD-7UPU].
257
    Kai Cenat Live (@KaiCenatLive), Kai Cenat Reacts to Kendrick Lamar - Not Like Us,
YouTube       (May    6,  2024),    https://www.youtube.com/watch?v=iVelBKQvzx4&t=1s
[https://perma.cc/9PX8-7GBR].
258
      Alexandria, supra note 252.


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       193.    Reactors Kai Cenat,259 No Life Shaq,260 DJ Akademiks,261 ImDOntai,262 and Jon

Denton263 have confirmed that UMG did not make efforts to copyright strike or otherwise

demonetize their videos about the Recording in the initial days following its release.

               F.     UMG’s Media Campaign Successfully Spreads the Defamatory Material
                      to Billions.

       194.    UMG’s campaign to spread the Defamatory Material was successful. On May 4,

2024, the Recording set a new record for the most single-day streams for a rap song in the U.S.—

13 million in 24 hours.264 Within the first week, the Recording debuted at No. 1 on the Billboard




259
    KaiCenat, ANOTHER DAY , ANOTHER STREAM, at 39:45–57:00, Twitch (Jan. 16, 2025);
https://www.twitch.tv/videos/2355342706 [https://perma.cc/9M6Q-9TC6] (confirming that his
videos about the Recording were monetized after its initial release).
260
    No Life Shaq (@NoLifeShaq), THE BEEF IS OVER...SO KENDRICK LAMAR DID THIS!, at
03:45–06:33, YouTube (May 7, 2024), https://www.youtube.com/watch?v=7oNNr76bUqY
[https://perma.cc/W57G-UWWA].
261
   MoreZIAS (@MoreZias), Zias & DJ Akademiks Talk About The Drake Lawsuit…, at 09:39–
11:15;       12:14–13:00,       13:52–14:20,     YouTube         (Jan.      16,     2025),
https://www.youtube.com/watch?v=Np04LBpFaco                 [https://perma.cc/7Z5V-N2XZ];
HipHopPrints.com          (@HipHopArtPrints),       X         (May          8,      2024),
https://x.com/HipHopArtPrints/status/1788058823258747324 [https://perma.cc/ZU8K-XWRS].
262
    ImStillDontai (@ImStillDontai.), ImDOntai Reacts To Drake Calling Kai RDC Shaq Zias &
CF        SELLOUTS,        at      06:21–06:51,     YouTube       (Jan.     16,    2025),
https://www.youtube.com/watch?v=4DR3it1i4n0 [https://perma.cc/QS8P-XJPC].
263
           Jon       Denton         (@JonDenton),          X         (May         6,      2024),
https://x.com/JonDenton/status/1787393525862023232                 [https://perma.cc/J3R6-EKFC]
(“Kendrick has just gone around and released all the automatic content claims on the reactions to
his tracks (meaning we can actually earn a couple of quid on them going forward) No one has ever
done that ever by the way.”).
264
    Perrin Kapur, Kendrick Lamar’s ‘Not Like Us’: All records broken so far, Sportskeeda (May
15, 2024), https://www.sportskeeda.com/us/music/kendrick-lamar-s-not-like-us-all-records-
broken-far
[https://web.archive.org/web/20240612184633/https://www.sportskeeda.com/us/music/kendrick-
lamar-s-not-like-us-all-records-broken-far].


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Hot 100 list, with 70.9 million official streams and 5 million radio airplay audience impressions.265

Just one week later, the Recording broke the record for the most streamed song in a 7-day period—

96 million streams.266

            195.   After UMG published the Video, the Recording returned to the No. 1 spot on the

Billboard Hot 100.267 In the week after the Video’s publication, the Recording was streamed an

additional 53.8 million times and played on the radio an additional 40 million times.268 And from

July 4 to August 8, 2024, the Video ranked first on YouTube’s Weekly Top Music Videos chart.269

On August 6, 2024, the Video earned an MTV Video Music Award nomination for Song of the

Year.270

            196.   The Recording has maintained its popularity in the months since. On October 7,

2024, Billboard reported that the Recording had reached “45.4 million in total audience

impressions” on radio with “15 nonconsecutive weeks in charge of the R&B/Hip-Hop Airplay




265
   Gary Trust, Kendrick Lamar’s ‘Not Like Us’ Blasts In at No. 1 on Billboard Hot 100, Billboard
(May 13, 2024), https://www.billboard.com/lists/kendrick-lamar-not-like-us-hot-100-number-
one-debut/not-like-us-no-1/ [https://perma.cc/TLZ3-M2EY].
266
   Cedric Thorton, Kendrick Lamar’s ‘Not Like Us’ Breaks Streaming Record, Passes Cardi B
and Taylor Swift, Black Enterprise (May 16, 2024), https://www.blackenterprise.com/kendrick-
lamar-not-like-us-streaming-record/ [https://perma.cc/3PU3-WPDD].
267
   Gary Trust, Kendrick Lamar’s ‘Not Like Us’ Returns to No. 1 on Billboard Hot 100, Billboard
(July 15, 2024), https://www.billboard.com/lists/kendrick-lamar-not-like-us-number-one-second-
week-hot-100/ [https://perma.cc/8S56-42CT].
268
      Id.
269
        Weekly     Top    Music     Videos,    YouTube      Charts     (Aug.  22,   2024),
https://charts.youtube.com/charts/TopVideos/us/weekly [https://perma.cc/ALX7-ZVDS].
270
   Demicia Inman, Kendrick Lamar’s “Not Like Us” Nominated for Song of the Year at 2024
VMAs, VIBE (Aug. 6, 2024), https://www.vibe.com/news/events/2024-vma-nominations-
kendrick-lamar-1234903011/ [https://perma.cc/R5YR-NUFX].


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list.”271 And the Recording spent at least 24 weeks on the “Top 40” charts for New York-based

stations Z100 and Power 105.1.272

       197.   Rolling Stone reflected that “with its catchy beat and incendiary lyrics labeling

Drake a pedophile, Kendrick Lamar’s latest hit is arguably the biggest moment in music this year”

and described the “vicious Drake diss” as “inescapable.”273 Pitchfork called the lyric “Certified

Lover Boy? Certified pedophiles” the “defining lyric of the decade so far.”274




271
    Trevor Anderson, Kendrick Lamar’s ‘Not Like Us’ Breaks Record for Most Weeks at No. 1 on
Hot Rap Songs Chart, Billboard (Oct. 7, 2024), https://www.billboard.com/music/chart-
beat/kendrick-lamar-not-like-us-number-1-record-rap-songs-chart-1235794635/
[https://perma.cc/4XBV-SUQG].
272
   See TOP 40 – January 4, 2025, z100 NY (Jan. 4, 2025), https://z100.iheart.com/charts/top-40-
238/january-4-2025/
[https://web.archive.org/web/20250111163459/https://z100.iheart.com/charts/top-40-
238/january-4-2025/]; Top 40 – January 4, 2025, Power 105.1 (Jan. 4, 2025),
https://power1051.iheart.com/charts/top-40-238/january-4-2025/
[https://web.archive.org/web/20250115203140/https://power1051.iheart.com/charts/top-40-
238/january-4-2025/]; TOP 40 - November 16, 2024, Power 105.1 (Nov. 16, 2024),
https://power1051.iheart.com/charts/top-40-238/november-16-2024/      [https://perma.cc/6Y4W-
Y3L2].
273
   Ethan Millman, What’s the Song of the Summer? Let’s Do the Math, Rolling Stone (July 28,
2024), https://www.rollingstone.com/music/music-lists/song-of-the-summer-1235061379/charli-
xcx-360-1235063506/ [https://perma.cc/79AH-KT63] (emphasis added).
274
     The 100 Best Songs of the 2020s So Far, Pitchfork (Sept. 30,                         2024),
https://pitchfork.com/features/lists-and-guides/the-100-best-songs-of-the-2020s-so-far/
[https://web.archive.org/web/20250111164915/https://pitchfork.com/features/lists-and-
guides/the-100-best-songs-of-the-2020s-so-far/].


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       198.    In the week following the Super Bowl Performance, the Recording again reached

number one on Billboard’s top 100.275 And in the hours after the Super Bowl Performance, the

Recording’s streams increased by 430% on Spotify.276

       199.    The Defamatory Material has become ubiquitous—not just in the rap community,

but in the community at large. The Defamatory Material has been heard and/or viewed over

9 billion times.

       200.    As just a few examples of the content’s broad reach, Joe Rogan discussed the

Recording and allegations against Drake on his hugely popular podcast “The Joe Rogan

Experience”277 (with 14.5 million followers on Spotify alone as of March 2024)278 as did NPR’s

podcast “Pop Culture Happy Hour.”279

       201.    With every play, stream, listen, view, and mention, UMG has profited.




275
    Ethan Millman, Kendrick Lamar’s ‘Not Like Us’ Tops The Charts After Super Bowl
Performance, Rolling Stone (Feb. 18, 2025), https://www.rollingstone.com/music/music-
news/kendrick-lamars-not-like-us-tops-billboard-chart-after-super-bowl-performance-
1235265765/
[https://web.archive.org/web/20250221023148/https://www.rollingstone.com/music/music-
news/kendrick-lamars-not-like-us-tops-billboard-chart-after-super-bowl-performance-
1235265765/].
276
    Jem Aswad, Kendrick Lamar’s Streams for ‘Not Like Us’ Soar 430% on Spotify After Super
Bowl        Halftime     Show,       Variety      (Feb.      10,      2025,     7:51      AM),
https://variety.com/2025/digital/news/kendrick-lamar-not-like-us-streams-soar-spotify-super-
bowl-halftime-1236302565/
[https://web.archive.org/web/20250320122123/https://variety.com/2025/digital/news/kendrick-
lamar-not-like-us-streams-soar-spotify-super-bowl-halftime-1236302565/].
277
     #2146 – Deric Poston, The Joe Rogan Experience, Spotify (May 7, 2024),
https://open.spotify.com/episode/6grygvRaF8UnhlXXpIdxPf [https://perma.cc/G2QV-CZ4B].
278
   Ashley Carman, Spotify Reveals Joe Rogan’s Podcast Numbers, Bloomberg (Mar. 21, 2024),
https://www.bloomberg.com/news/newsletters/2024-03-21/spotify-reveals-podcast-numbers-for-
joe-rogan-alex-cooper-travis-kelce [https://perma.cc/F9P2-SSE6].
279
   Pop Culture Happy Hour, We process the explosive Drake-Kendrick beef, NPR (May 9, 2024),
https://www.npr.org/transcripts/1197964460 [https://perma.cc/JK9R-RGED].


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       202.    Of all the songs published during the rap beef, the Recording is the only one that

“broke through the noise” and achieved cultural ubiquity.280

       UMG PROMOTED THE DEFAMATORY MATERIAL WITH KNOWLEDGE OF
       OR RECKLESS DISREGARD FOR ITS FALSITY AND KNOWLEDGE THAT IT
            WAS REASONABLY FORESEEABLE TO CAUSE DRAKE HARM

       203.    Just as UMG knew that the allegations in the Defamatory Material were false at the

time it first published the Recording, Image, and Video, see supra ¶¶ 120–26, UMG knew the

allegations were false throughout its months-long campaign to promote the material, which

continues through the date of this Complaint. UMG also promoted the Defamatory Material with

full knowledge that Drake had already suffered significant harm and that additional harm to Drake

was reasonably foreseeable.




280
          See            Drake,      Push     Ups       (Apr.       19,       2024),    Spotify,
https://open.spotify.com/track/3eh51r6rFWAlGQRlHx9QnQ             [https://perma.cc/N25J-RXH3]
(listing over 191 million streams); Drake (@DrakeOfficial), Push Ups, YouTube (Apr. 19, 2024),
https://www.youtube.com/watch?v=HKH9p19PRLA [https://perma.cc/4MRV-P53H] (over 27
million views); Kendrick Lamar, Euphoria (Interscope Records, Apr. 30, 2024), Spotify,
https://open.spotify.com/track/77DRzu7ERs0TX3roZcre7Q           [https://perma.cc/GR8Q-C2NS]
(listing over 373 million streams); Kendrick Lamar (@kendricklamar), Kendrick Lamar –
euphoria, YouTube (Apr. 30, 2024), https://www.youtube.com/watch?v=NPqDIwWMtxg
[https://perma.cc/S94F-BADK] (over 73 million views); Drake, Family Matters (May 3, 2024),
Spotify, https://open.spotify.com/track/1wFFFzJ5EsKbBWZriAcubN [https://perma.cc/QEB9-
W2C2] (listing over 148 million streams); Drake (@DrakeOfficial), DRAKE – FAMILY
MATTERS, YouTube (May 3, 2024), https://www.youtube.com/watch?v=ZkXG3ZrXlbc
[https://perma.cc/5ASR-LYNQ] (over 45 million views); Kendrick Lamar, meet the grahams
(Interscope             Records,           May           3,             2024),          Spotify,
https://open.spotify.com/track/4S8PxReB1UiDR2F5x1lyIR            [https://perma.cc/2Y95-KBTX]
(listing over 150 million streams); Kendrick Lamar (@kendricklamar), meet the grahams,
YouTube         (May        3,      2024),    https://www.youtube.com/watch?v=2QiFl9Dc7D0
[https://perma.cc/8C89-GC7J] (over 46 million views); Drake (@DrakeOfficial), THE HEART
PART 6 – DRAKE, YouTube (May 5, 2024), https://www.youtube.com/watch?v=HJeY-FXidDQ
[https://perma.cc/K6P7-6YS5] (listing 25 million views). Stream and view count as of the date of
this filing.


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        204.    UMG’s relentless promotional campaign is more egregious in light of the fact that

Drake has specifically informed UMG, repeatedly, of the falsity of the allegations and the harm he

is suffering as a result.

        205.    On July 24, 2024, Drake (via counsel) sent a letter to Universal Music’s General

Counsel and Head of Litigation about the Recording, which explained that the Defamatory

Material “falsely accused” Drake “of engaging in criminal acts, including sex trafficking,

pedophilia, and/or other acts that would require registering as a sex offender.” The letter made

clear that UMG’s actions were causing Drake concrete and substantial harm and specifically

referenced the armed attack on Drake’s Toronto house on May 7, 2024. The letter demanded

UMG preserve its records in the event litigation was necessary, and cautioned that “UMG’s

involvement in perpetuating a false, inflammatory, and dangerous conspiracy theory about one of

its own artists is shocking, and tortious under a variety of laws of both Canada and the United

States.”

        206.    Following a telephone call between counsel for the parties on July 31, 2024, UMG

sent a letter to Drake’s representatives, in which UMG represented that it understood its

preservation obligations and warned that it “would be improvident” of Drake “to pursue these

claims against UMG.”

        207.    On August 1, 2024, Drake sent UMG another letter again emphasizing the harm to

Drake, as well as his businesses, that UMG was causing by continuing to promote the Defamatory

Material. The letter demanded UMG issue a retraction and accept its responsibility in promoting

and marketing the Defamatory Material.

        208.    UMG’s actions did not change. After receiving two notices from Drake about the

falsity of the allegations and a description of the severe harm he suffered as a result, UMG took




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no steps to address the matter. To the contrary, UMG continued to promote and license the

Defamatory Material, including through numerous social media posts boasting of the Recording’s

success, and negotiating and paying for the Recording to be nominated at the 2025 Grammys and

played at the Super Bowl.281

            209.   Throughout the summer and fall, Drake attempted to resolve these claims privately

with UMG without resorting to litigation. UMG’s own Code of Conduct required corrective action

on UMG’s part—that code states that UMG is “committed to a nonviolent workplace,” and that

“[h]arassment can take different forms, such as . . . speech that is threatening or abusive.”282 In its

workplace, UMG prioritizes “[a]voiding abusive conduct, including verbal abuse and physical

conduct that another person would find threatening or humiliating.”283 In his introductory

comments to that Code of Conduct, Sir Grainge observes that integrity “means behaving honorably

and with honesty. It means setting the right tone—in all that we do. We are accountable for the

decisions we make and how we conduct ourselves.”284 Drake expected that UMG would live by

its own principles in responding to the abusive conduct, threats, and violence he had experienced.

            210.   Yet, after weeks of delay, UMG declined to do anything to assist Drake, including

even going so far as refusing to agree to mediate with Drake. UMG instead insisted that it bore

no responsibility for the harm Drake had suffered, and represented that if Drake sued UMG, UMG

would respond by bringing claims against Kendrick Lamar, and intimated that Drake would face

public ridicule for the perception that he had sued another rapper.




281
      See supra ¶¶ 129–47, 164–69.
282
      Universal Music Group, Our Code of Conduct, supra note 17, at 10-11.
283
      Id.
284
      Id. at 2.


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       211.    At no point during any of these discussions did UMG ever suggest that it believed

the allegations against Drake to be truthful or accurate.

       212.    As of the date of this filing, UMG continues to promote and license the Defamatory

Material notwithstanding its plain knowledge of both the falsity and concrete harm to Drake. As

of the date of this filing, UMG has not retracted any of the Defamatory Material or issued any

statements disclaiming the veracity of the Defamatory Material or apologizing to Drake for the

harm it has caused.

       213.    UMG’s actions were motivated, at least in part, by UMG’s desire to best position

itself in negotiations with Kendrick Lamar in 2024 and Drake in 2025. With respect to Lamar, on

information and belief, UMG was incentivized to prove that it could maximize Lamar’s sales—by

any means necessary—after only being able to get him to sign a short-term exclusive contract.

UMG wanted Lamar to see its value on an expedited timeframe in order to convince Lamar to re-

sign exclusively and for a longer period of time. As to Drake, in 2024, his contract was nearing

fulfillment. On information and belief, UMG anticipated that extending Drake’s contract would

come at a high cost to UMG; as such, it was incentivized to devalue Drake’s music and brand in

order to gain leverage in negotiations for an extension.

       214.    UMG’s actions were also motivated by its executive incentive structure, which

rewards Interscope executives, like Mr. Janick, for surpassing their division’s annual projections,

even if that success has a detrimental effect on an artist from another division, like Drake from

Republic, and/or UMG overall.

       215.    On information and belief, Mr. Janick further was motivated to surpass Interscope’s

2024 annual goals at the expense of Republic and Drake to position himself to be named as Sir

Grainge’s successor, a position for which Mr. Monte Lipman of Republic is also being considered.




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                 UMG CAUSED DRAKE SUBSTANTIAL HARM BY PUBLISHING AND
                        PROMOTING THE DEFAMATORY MATERIAL

          216.    UMG published or took part in publishing statements that assert or imply that Drake

is a sex offender, pedophile, and sex trafficker, and engages in other sexual criminal acts that

would require him to register as a sex offender. These claims are false and constitute defamation

per se.

          217.    UMG’s publications have caused Drake reputational, financial, physical, and

emotional harm, and all of these harms were reasonably foreseeable.

          218.    The Economist and YouGov polled Americans about their views of Drake in

August 2023 and in May 2024, shortly after the release of the Recording and Image. Drake’s

favorability rating dropped by 11% while his unfavorability rating rose 13%.285

          219.    As a public figure, Drake’s reputation is paramount to his career and is directly

related to his financial success.       UMG’s purposeful spread of the Defamatory Material

unquestionably caused Drake reputational harm. Because of UMG’s defamation, millions of

people all over the world now associate Drake with pedophilia and sexual violence against

children:

                     “Every time I think of Aubrey now I just sing [‘]certified lover boy certified
                      pdfile[’] in my head;”286




285
   David Montgomery, Polls show Drake is losing his feud with Kendrick Lamar, YouGov (May
16, 2024), https://today.yougov.com/politics/articles/49451-polls-show-drake-is-losing-his-feud-
with-kendrick-lamar [https://perma.cc/3D4A-3KG7].
286
   User @deelaw, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube                       (July                     6,                        2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgysYam8wQR1iF1OOUd4AaABAg
[https://perma.cc/FJL2-HUF4].


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                “Drake may or may not recover from this, but either way shit’s never gonna
                 be the same for him after this song. He can’t escape from it, creepy pedo
                 ass;”287

                “Dont think his rap career is dead, but enough questions have been asked so
                 there should be notable impact on his career . . . ;”288

                “What am I suppose to tell my kids when they ask me if these allegations are
                 true? They did not even know Kendrick music well but identified a feeling in
                 [K]endricks music that resonated with there truth. These words are scathing
                 to any listener. I got some decision’s to make after this because I can’t play
                 drake in my car with this narrative floating around. Dangerous;”289

                “I don’t wanna be that guy but I never took Drake seriously, he’s Canadian, he
                 was in Degrassi that stuff makes it hard for me to take him seriously. I thought
                 that’s why Kendrick went after him. Now that it’s more serious than just Drake
                 being fake, I’m like wow if I knew all this I’d hate Drake too. This is check
                 mate for Drake because how exactly do you respond to someone calling you a
                 sociopath, a deadbeat and a pedo? As for KL I just wanna know how he found
                 out some of these things and what took so long to call Drake out;”290

                “This whole thing is beyond brutal at this point. Kendrick must truly fucking
                 hate Drake for some reason. Makes me inevitably think there might be real
                 merit to the pedophile claims. Sorry Drake, Kendrick is literally making




287
    User @johnnyrivas2619, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not           Like        Us,         YouTube         (July          5,         2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgxAJNNJvjl4aiD560B4AaABAg
[https://perma.cc/5XSN-KVFQ] (emphasis added).
288
   User @bg1251, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube                       (July                     6,                       2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgyC98eu0JPMQKG_dqN4AaABAg.A
5VBBvesZLGA5XRyIMTpit [https://perma.cc/V2AQ-QT3P] (emphasis added).
289
   User @Mesquite103, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like    Us, YouTube     (May    8,   2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugx4tw7pScwTmxZRJgJ4AaABAg [https://perma.cc/9S4Q-RYNE] (emphasis
added).
290
    User @miguelzurita3216, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 8, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgzepMW_ZmA-jpOZ4lp4AaABAg.A39Umhbxa2hA39oO8zdpS7
[https://perma.cc/X89T-2XU6] (emphasis added).


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                   me think it. Jesus christ, talk about winning a rap beef [laughing emojis];”291
                   and

                  “Drake’s Funeral has lasted since March 2024, this the longest
                   CELEBRATION EVER! [fire, eye, and mouth emojis] His fans will STILL
                   DEFEND A PDF.[fire, laughing, and thumbs up emojis].”292

       220.    And because Drake’s reputation is closely related to that of the companies he owns,

the reputation of Drake’s brand OVO has also been harmed. For example, when a collaboration

with Disney was announced in February 2025, Instagram users commented: “Disney collab [skull

emoji] yes little kids Aubrey is coming for you,” “Pdf Aubrey looking for new ways to reach the

children,” and “child actor turned child lover.”293

       221.    This reputational harm caused Drake financial harm in an amount to be proven at

trial. UMG knew or should have known that the statements it published about Drake would cause

substantial harm as the statements are inflammatory, wrongfully impute criminal activity to him,

and damage Drake in his trade. The Defamatory Material has so severely damaged Drake’s

standing in his trade and community that undoing the reputational harm caused would require a

massive, and expensive, corrective campaign. It is not just the fact that the false allegations have

spread to millions around the globe, it is also the intensity with which people believe the allegations




291
    User @11cockrellm, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like            Us,            YouTube           (July            7,           2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgxIuAXkpmfSycCn6wV4AaABAg.A
5XwaGEIEB0A5_wDJFEk8J [https://perma.cc/VUT8-5875] (emphasis added).
292
   User @ MariaHeredia-dw4id, Comment, NFL (@NFL), Kendrick Lamar’s Apple Music Super
Bowl Halftime Show, YouTube (Feb. 10, 2025), https://www.youtube.com/watch?v=KDorKy-
13ak&lc=Ugwi7fkuw2Yg-WPQzQ94AaABAg [https://perma.cc/V4C7-FWSK].
293
       October's   Very   Own    (@octobersveryown),    Instagram  (Feb.  7,   2025),
https://www.instagram.com/p/DFxp-lyJMNQ/ [https://perma.cc/RTA9-3LBR] (comments from
@whatslorenzodoin and @brooke__725 preserved offline).


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as evidenced by the events of May 7, 2024, and pervasive online commentary. Changing people’s

minds, particularly about deeply held beliefs, takes repeated messaging from trusted sources.

            222.   UMG knows and understands just how destructive false allegations of participating

in criminal sex acts against minors can be. When UMG and Sir Grainge were accused of aiding

and abetting P. Diddy’s criminal sex acts in 2024, they moved to dismiss the complaint and called

the accusations “offensively false allegations of criminal behavior” that would be “libelous per se”

if not contained within a legal filing294 and “knowingly and maliciously false and defamatory.”295

            223.   In Sir Grainge’s words, “a single lie can destroy a reputation of integrity and that

while it takes years to build a reputation, it can be ruined in five minutes.”296

            224.   UMG’s conduct has also caused Drake physical and emotional harm, including

alarm and annoyance. UMG’s publication was the proximate cause of the violence against Drake

in early May 2024 and the deluge of online hatred and threats. Following the physical violence in

May 2024, Drake made lasting changes to his life, including increasing security for himself and

his family anywhere they go. The threat of violence continues to weigh on Drake. With respect

to his family, Drake temporarily took his son out of school and away from the Toronto area (along

with Drake’s mother) for security concerns. And to this day Drake experiences anxiety worrying

about the physical safety of his seven-year-old son and mother.

            225.   The online harassment and repetition of the allegations have endured, and have

been revitalized by UMG’s persistent efforts to promote the Defamatory Material, including at the

Grammys and Super Bowl. The overwhelming public commentary repeating the allegations



294
      Declaration of Donald S. Zakarin, supra note 11, at ¶ 3.
295
      Declaration of Sir Lucian Grainge, supra note 13, at ¶ 24.
296
      Id.


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against Drake, calling for intervention by the FBI and law enforcement, and spewing racist and

hateful messages have caused Drake emotional distress, including in the forms of alarm and

annoyance.

       226.    While UMG’s initial publications and promotions of the Defamatory Material may

have been motivated by legitimate business purposes, UMG ceased being legitimately motivated.

UMG’s actions had no legitimate purpose at least as of August 1, 2024, because all publications

and promotions after that date were made following Drake’s informing UMG about the harm the

Defamatory Material was causing him and retraction demand.

                 UMG DECEIVED THE PUBLIC AND CAUSED DRAKE HARM

       227.    UMG’s deceptive business practices, including providing undisclosed financial

benefits to third parties to promote the Defamatory Material, were consumer oriented, deceived

the public, and caused Drake financial harm.

       228.    As described above, UMG directly or indirectly through its agents and making use

of UMG resources, conspired with, paid, or caused payments to be made to unknown third parties,

including to use bots to stream the Recording. UMG then knowingly promoted the success of the

Defamatory Material, and used that success to leverage more sales and deals. UMG never

disclosed these payments to consumers.

       229.    These covert tactics caused Drake harm as both an artist and a music consumer.

Stream manipulation, like UMG’s purchase of fake streams on Spotify and other platforms, harms

the artists, like Drake, who collect royalties through legitimate streams because when there is “a

sharp increase in the number of streams recorded on a platform, without a proportional increase in

the number of paying subscribers,” there is a “drop in the unit value of a stream and therefore a




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drop in the amount of royalties paid to rights-holders.”297 Additionally, streaming platforms, like

Spotify, use streaming data to proportionally allocate and disperse payments, which means

streaming fraud diverts funds from artists whose songs are legitimately streamed by real consumers

to those who use automation to falsely create the appearance of legitimate streaming.298 Drake

was also harmed as a music consumer. UMG’s covert promotional tactics and promotion of the

success of the Defamatory Material based on those tactics deceived all consumers of music,

including Drake.

                                          FIRST CLAIM
                                   (Defamation/Defamation Per Se)

          230.   Plaintiff incorporates and re-alleges all preceding paragraphs as if fully set forth

herein.

          231.   Plaintiff is a public figure.

          232.   UMG published, caused the publication of, participated in the publication of, and/or

reasonably could have foreseen that its actions would result in the publication of a series of false

and defamatory statements of fact about Plaintiff, including by and through its agents, making the

statements itself, and republishing the statements on its websites and social media accounts, as

detailed extensively above. As a reasonably foreseeable—and intended—result of Defendant’s

statements and actions, others repeated and amplified these false and defamatory statements.

          233.   UMG intentionally made false implications through the false statements. The

defamatory meanings of Defendant’s false and implied statements of fact are apparent from the

face of the publications, refer to Drake by name, often are accompanied by images of symbols,




297
      Stream Manipulation, supra note 228, at 12.
298
      See Burton, supra note 239, at 390-92.


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items, places, and other depictions known to be associated with Drake, and/or are reasonably

understood to be about him.

       234.      The statements UMG published about Drake are reasonably understood to state or

imply that he:

                        a.      has a history of engaging in and continues to engage in pedophilia
                                and sexual relations with minors;

                        b.      engages in other sexual criminal acts, including sex trafficking;

                        c.      is a sex offender or engages in acts that would require him to be
                                registered as a sex offender; and

                        d.      harbors in his home individuals who are sex offenders or engage in
                                acts that would require them to be registered as sex offenders.

       235.      These statements and implications are false and defamatory per se in that they

impute criminal activity punishable by law and damage Drake in his trade, office, or profession.

       236.      People all over the world believed the statements and implications to be statements

of fact. UMG knew when it initially published the Recording that listeners would understand the

Defamatory Material to convey the accusation that Drake is a pedophile; and, following initial

publication of the Recording, UMG learned of the events at Drake’s Toronto house, as well as the

widespread hatred and vitriol inspired against Drake as a result of the Defamatory Material, all of

which stem from the misperception that the accusations in the Recording and Video are true.

       237.      UMG published these false statements with actual malice, i.e., with knowledge of

their falsity or with reckless disregard as to their truth. UMG knew or should have known that the

defamatory statements—all of which are verifiable—were and are false. UMG failed to assess or

investigate the falsity of the defamatory statements despite inherent improbability and obvious

reasons to doubt the veracity of the statements. Drake also made a public statement about their

falsity and repeatedly informed UMG of the same privately.



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        238.    UMG had no basis on which to believe that the allegations were true, and indeed

knew them to be false given UMG’s longstanding contractual relationship with Drake, and

continued to publish the allegations after learning Drake had disavowed the statements. Indeed,

UMG continued to promote and publish the Defamatory Material after receiving a retraction

demand from Drake, including making efforts to disseminate the Defamatory Material to new

audiences of millions of people, such as UMG’s promotional campaigns in advance of the 2025

Grammy Awards and Super Bowl Performance. To this day, UMG does not claim that any of the

allegations are true.

        239.    UMG published the allegations, including by its publication of the misleading

Image and other conduct described herein, in a manner to create false inferences.

        240.    UMG had financial motives for promoting the Defamatory Material.

        241.    UMG endorsed and adopted the false allegations as its own, publishing and

republishing, or causing to publish and republish, the false allegations for months with full

knowledge of their falsity or reckless disregard for their truth.

        242.    UMG had no applicable privilege or legal authorization to make these false and

defamatory statements.

        243.    UMG published these statements so that they were heard, viewed, or read billions

of times around the world.

        244.    UMG’s statements damaged Drake’s reputation in the general public, in his

profession, in his personal life, in his neighborhood, and with friends, relatives, and neighbors.

        245.    As a direct and proximate result of Defendant’s conduct, Drake has suffered

significant general, actual, consequential, and special damages including, without limitation,

impairment of reputation and standing in the community and in his profession, personal




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humiliation, mental anguish and suffering, emotional distress, stress, anxiety, lost earnings, and

other pecuniary loss.

          246.   UMG was aware of the ongoing harm Drake was experiencing, including because

of news reports of the armed attack on his Toronto residence and Drake’s private communications

with UMG. UMG made repeated decisions to republish the Defamatory Material to new audiences

around the world after learning of the harm Drake had suffered and receiving a retraction demand

from him.

                                       SECOND CLAIM
                                (Harassment in the Second Degree)

          247.   Plaintiff incorporates and re-alleges all preceding paragraphs as if fully set forth

herein.

          248.   UMG engaged in a course of conduct and repeatedly committed acts which alarm

and seriously annoy Plaintiff. UMG published, promoted, and profited from a coordinated

campaign to smear, threaten, and discredit Plaintiff despite Plaintiff’s protests. Further, UMG has

placed Plaintiff in reasonable fear of physical harm. UMG published explicit threats and calls for

violence against Drake.

          249.   The Defamatory Material individually and collectively provide a call to target

Drake, including through violence. UMG has continued a course of conduct to promote these

publications online and on radio airwaves and through public events and further licensing of the

Recording. UMG has done so despite being a major business partner of Drake, having knowledge

of physical violence and threats at Drake’s home and online threats, and being aware of Drake’s

public and private denials of the statements.

          250.   UMG’s course of conduct in publishing specific and unequivocal threats of

violence has placed Plaintiff in reasonable fear of physical harm. Plaintiff’s security guard was



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taken to the hospital with serious injuries after a shooting that immediately followed the initial

publication of the Recording. Even after learning about this incident, UMG continued to promote

and publish the Recording and Video to new audiences around the world.

          251.   While its initial motive was financial, UMG lost any legitimate purpose to continue

its course of conduct in the face of Drake’s public and private denials, and the reaction of the

public to the Defamatory Material. At the very latest, UMG lost any legitimate purpose to continue

promoting and disseminating the Defamatory Material to new audiences once it had received a

retraction demand from Drake, which communicated to UMG the substantial harm that had been

caused to Drake, his businesses, and his family as a result of UMG’s conduct.

          252.   As a direct and proximate result of Defendant’s conduct, Drake has suffered

significant general, actual, consequential, and special damages including, without limitation,

mental anguish and suffering, emotional distress, stress, anxiety, and costs related to his increased

security.

                                        THIRD CLAIM
                    (Violation of the New York General Business Law § 349)

          253.   Plaintiff incorporates and re-alleges all preceding paragraphs as if fully set forth

herein.

          254.   Plaintiff is “person” within the meaning of N.Y. Gen. Bus. Law § 349(h).

          255.   Defendant is a “person, firm, corporation, or association” within the meaning of

N.Y. Gen. Bus. Law § 349(b).

          256.   Defendant engaged in deceptive acts and practices in the conduct of business, trade,

and commerce by covertly financially incentivizing third parties—including music platforms and

social media influencers—to play, stream, and promote the Recording. And after providing those




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covert benefits, which were never disclosed to consumers, UMG then publicly made materially

false and misleading representations about the Recording’s popularity to consumers.

       257.    On information and belief, UMG directly or indirectly through its agents and

making use of UMG resources, conspired with, paid, or caused payments to be made to unknown

third parties to use bots to stream the Recording. UMG then touted the Recording’s number of

streams on Spotify while knowing that millions of those streams were false and fraudulent.

       258.    UMG also paid at least one radio promoter to engage in pay-for-play of the

Recording on New York radio stations. UMG then marketed the Recording as being at the top of

the radio charts despite knowing that it had paid third parties, including radio stations, to play and

promote the Recording.

       259.    These deceptive acts and practices were intended to inflate the public’s perception

of the Recording’s popularity and success. And a reasonable consumer of music would be

materially misled by these deceptive acts and practices.

       260.    These deceptive acts and practices were consumer-oriented because they were

directed and disseminated to the general music-consuming public and marketplace and had a broad

impact on music consumers at large.

       261.    These alleged deceptive acts and practices occurred (at least in part) in the state of

New York.

       262.    Plaintiff was injured as a direct and proximate result of Defendant’s deceptive acts

and practices on streaming platforms because each time the Recording was artificially streamed,

Drake’s songs received a disproportionate share from the pool of royalties collected based on the

streaming data.




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       263.       Plaintiff was separately injured as a direct and proximate result of Defendant’s

deceptive acts and practices in the radio industry because every time the Recording was played,

Drake lost the opportunity for one of his songs to be played.

       264.       By reason of the foregoing, UMG’s conduct, as alleged herein, constitutes

deceptive acts and practices in violation of Section 349 of the New York General Business Law,

and UMG is liable to Plaintiff for the actual damages that he has suffered as a result of Defendant’s

actions, the amount of such damages to be determined at trial, plus treble damages, and attorneys’

fees and costs.

       265.       Plaintiff further demands injunctive relief enjoining Defendant from continuing to

engage in, use, or employ any act, including false statements of the Recording’s success or other

representations, prohibited by Section 349 of the New York General Business Law.

                                      PRAYER FOR RELIEF

       266.       WHEREFORE, Plaintiff prays for judgment against UMG for each of the causes

of action raised herein. Plaintiff respectfully requests a judgment in his favor against UMG for:

                  a.     Nominal damages;

                  b.     Compensatory damages, including general, actual, consequential, and
                         special damages, in an amount to be determined at trial;

                  c.     Punitive damages;

                  d.     Reasonable and necessary attorneys’ fees;

                  e.     Reasonable and necessary costs of the suit;

                  f.     Prejudgment and post-judgment interest at the highest lawful rates;

                  g.     Declaratory relief stating that the statements published and promoted by
                         UMG and those attributable to UMG as reasonably foreseeable
                         republications identified within this Complaint, individually and
                         collectively, were and are false;




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             h.     Injunctive relief enjoining UMG from making statements about the
                    popularity of the Recording, Image, or Video that it knows to be false based
                    on fake streams or pay-for-play; and

             i.     Such other and further relief as this Court deems just and appropriate.




Dated: April 16, 2025                           Respectfully Submitted,

                                                By: /s/ Michael J. Gottlieb
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